              Case 23-01017-MM7                         Filed 04/14/23              Entered 04/14/23 19:28:25                        Doc 1     Pg. 1 of 137


 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

             Southern District of California

 Case number (If known):                            Chapter you are filing under:
                                                    ✔
                                                    ❑      Chapter 7
                                                    ❑      Chapter 11
                                                    ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                    ❑      Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Jack
       Write the name that is on your         First name                                                      First name
       government-issued picture               F.
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Marshall
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.       Jr
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden         Middle name                                                     Middle name
       names and any assumed, trade
       names and doing business as
       names.                                 Last name                                                       Last name

       Do NOT list the name of any
       separate legal entity such as a        Business name (if applicable)                                   Business name (if applicable)
       corporation, partnership, or LLC
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 7           3    7   0                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number                  9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Jack                F.                           Marshall, Jr                                   Case number (if known)
                     First Name          Middle Name                  Last Name


                                          About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification                    -                                                                -
       Number (EIN), if any.              EIN                                                              EIN


                                                       -                                                                -
                                          EIN                                                              EIN




                                                                                                           If Debtor 2 lives at a different address:
  5.   Where you live
                                              1285 E. Washington Ave. Spc 6
                                          Number             Street                                        Number           Street




                                              El Cajon, CA 92019-3044
                                          City                                       State   ZIP Code      City                                  State      ZIP Code

                                              San Diego
                                          County                                                           County

                                          If your mailing address is different from the one above,         If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to    it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                     at this mailing address.


                                          Number             Street                                        Number           Street



                                          P.O. Box                                                         P.O. Box



                                          City                                       State   ZIP Code      City                                  State      ZIP Code




  6.   Why you are choosing this          Check one:                                                       Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I     ❑      Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other             have lived in this district longer than in any other
                                                 district.                                                        district.

                                          ❑      I have another reason. Explain.                           ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                           (See 28 U.S.C. § 1408)




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 Debtor 1           Jack               F.                       Marshall, Jr                                   Case number (if known)
                    First Name         Middle Name              Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔
                                       ❑    I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                            details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                            check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                            a credit card or check with a pre-printed address.

                                       ❑    I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                            to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑    I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                            judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                            official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                            choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                            103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes.
       within the last 8 years?
                                                  District                                      When                         Case number
                                                                                                       MM / DD / YYYY

                                                  District                                      When                         Case number
                                                                                                       MM / DD / YYYY

                                                  District                                      When                         Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes.
       pending or being filed by a
       spouse who is not filing this              Debtor                                                                 Relationship to you
       case with you, or by a
       business partner, or by an                 District                                  When                         Case number, if known
       affiliate?                                                                                  MM / DD / YYYY


                                                  Debtor                                                                 Relationship to you

                                                  District                                  When                         Case number, if known
                                                                                                   MM / DD / YYYY




  11. Do you rent your residence?      ✔
                                       ❑    No.    Go to line 12.

                                       ❑    Yes. Has your landlord obtained an eviction judgment against you?

                                                   ❑    No. Go to line 12.

                                                   ❑    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                        as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 3
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 Debtor 1           Jack                   F.                        Marshall, Jr                                   Case number (if known)
                    First Name             Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔
                                           ❑    No. Go to Part 4.

                                           ❑
      any full- or part-time
      business?                                 Yes. Name and location of business

      A sole proprietorship is a
      business you operate as an                Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.         Number          Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.                                 City                                                 State           ZIP Code

                                                Check the appropriate box to describe your business:

                                                ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                ❑      None of the above



  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔
                                           ❑    No.        I am not filing under Chapter 11.

                                           ❑
      debtor, see 11 U.S.C. §
      101(51D).                                 No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                           Bankruptcy Code.

                                           ❑    Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                           Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑    Yes.       I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                           Code, and I choose to proceed under Subchapter V of Chapter 11.




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 Debtor 1           Jack                F.                      Marshall, Jr                                 Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔
                                        ❑    No.

                                        ❑
      property that poses or is
      alleged to pose a threat of            Yes.   What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                    If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                    Where is the property?
                                                                               Number       Street




                                                                               City                                         State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1           Jack                F.                         Marshall, Jr                                        Case number (if known)
                    First Name          Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                   You must check one:
      receive a briefing about credit
      counseling before you file for
                                        ✔
                                        ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      check one of the following             petition, and I received a certificate of completion.                 petition, and I received a certificate of completion.
      choices. If you cannot do so,          Attach a copy of the certificate and the payment plan, if any,        Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.          that you developed with the agency.                                   that you developed with the agency.

      If you file anyway, the court     ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you           petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      begin collection activities            MUST file a copy of the certificate and payment plan, if any.         MUST file a copy of the certificate and payment plan, if any.

                                        ❑                                                                     ❑
      again.
                                             I certify that I asked for credit counseling services from an         I certify that I asked for credit counseling services from an
                                             approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                             during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                             requirement.                                                          requirement.
                                             To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                             attach a separate sheet explaining what efforts you made to           attach a separate sheet explaining what efforts you made to
                                             obtain the briefing, why you were unable to obtain it before          obtain the briefing, why you were unable to obtain it before
                                             you filed for bankruptcy, and what exigent circumstances              you filed for bankruptcy, and what exigent circumstances
                                             required you to file this case.                                       required you to file this case.

                                             Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                             your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                             bankruptcy.                                                           bankruptcy.

                                             If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                             receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                             with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                             do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                             Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                             cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                             counseling because of:                                                counseling because of:
                                             ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                              deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                              realizing or making rational decisions                                realizing or making rational decisions
                                                              about finances.                                                       about finances.
                                             ❑    Disability.   My physical disability causes me to be             ❑    Disability.   My physical disability causes me to be
                                                                unable to participate in a briefing in                                unable to participate in a briefing in
                                                                person, by phone, or through the                                      person, by phone, or through the
                                                                internet, even after I reasonably tried to                            internet, even after I reasonably tried to
                                                                do so.                                                                do so.
                                             ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                               a military combat zone.                                               a military combat zone.

                                             If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                             about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                             credit counseling with the court.                                     credit counseling with the court.




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 Debtor 1           Jack                  F.                       Marshall, Jr                                     Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you                16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                         “incurred by an individual primarily for a personal, family, or household purpose.”
                                                    ✔
                                                    ❑    No. Go to line 16b.
                                                    ❑    Yes. Go to line 17.

                                               16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                    for a business or investment or through the operation of the business or investment.
                                                    ❑    No. Go to line 16c.
                                                    ✔
                                                    ❑    Yes. Go to line 17.

                                               16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?          ❑    No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                               ✔
                                               ❑    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ❑    No
      paid that funds will be available                    ✔
                                                           ❑    Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you                 ❑   1-49        ❑     1,000-5,000         ❑    25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                    ❑   50-99       ❑     5,001-10,000
                                                ✔
                                                ❑   100-199     ❑     10,001-25,000
                                                ❑   200-999


  19. How much do you estimate your             ❑   $0-$50,000                     ❑    $1,000,001-$10 million                ❑     $500,000,001-$1 billion
      assets to be worth?                       ❑   $50,001-$100,000               ❑    $10,000,001-$50 million               ❑     $1,000,000,001-$10 billion
                                                ❑   $100,001-$500,000              ❑    $50,000,001-$100 million              ❑     $10,000,000,001-$50 billion
                                                ✔
                                                ❑   $500,001-$1 million            ❑    $100,000,001-$500 million             ❑     More than $50 billion


  20. How much do you estimate your             ❑   $0-$50,000                     ✔
                                                                                   ❑    $1,000,001-$10 million                ❑     $500,000,001-$1 billion
      liabilities to be?                        ❑   $50,001-$100,000               ❑    $10,000,001-$50 million               ❑     $1,000,000,001-$10 billion
                                                ❑   $100,001-$500,000              ❑    $50,000,001-$100 million              ❑     $10,000,000,001-$50 billion
                                                ❑   $500,001-$1 million            ❑    $100,000,001-$500 million             ❑     More than $50 billion

 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Jack F. Marshall, Jr
                                       Jack F. Marshall, Jr, Debtor 1
                                       Executed on 04/14/2023
                                                        MM/ DD/ YYYY




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 Debtor 1           Jack                    F.                        Marshall, Jr                                    Case number (if known)
                    First Name              Middle Name               Last Name



   For your attorney, if you are                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                            proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                                 each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an              11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this        that the information in the schedules filed with the petition is incorrect.
   page.

                                                 ✘ /s/ Thomas B. Gorrill                                                Date 04/14/2023
                                                      Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                     Thomas B. Gorrill
                                                     Printed name

                                                     Law Office of Thomas Gorrill
                                                     Firm name

                                                     401 West A Street #1770
                                                     Number      Street



                                                     San Diego                                                        CA      92101
                                                     City                                                             State   ZIP Code



                                                     Contact phone (619) 851-8898                       Email address tom@gorillalaw.com


                                                     #102979                                                          CA
                                                     Bar number                                                       State




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 8
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 Fill in this information to identify your case:

  Debtor 1                      Jack                        F.                       Marshall, Jr
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                  Southern District of California

  Case number                                                                                                                                                            ❑   Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                       $250,000.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $388,327.00

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                      $638,327.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                $21,201.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                     $34,000.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                        +          $1,194,743.00


                                                                                                                                                  Your total liabilities                 $1,249,944.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                       $2,878.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                     $4,387.00




Official Form 106Sum                                             Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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Debtor 1            Jack                  F.                     Marshall, Jr                                    Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑   No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑   Yes



7. What kind of debt do you have?
   ❑   Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔
   ❑   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                              Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                         page 2 of 2
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Jack                         F.                           Marshall, Jr
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                         Southern                   District of         California

  Case number                                                                                                                                                           ❑   Check if this is an
                                                                                                                                                                            amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑     No. Go to Part 2.
        ✔
        ❑     Yes. Where is the property?

                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      1284 E Washington Ave Spc 6                      ❑    Single-family home                                               the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑    Duplex or multi-unit building                                    Creditors Who Have Claims Secured by Property.
                description                                       ❑    Condominium or cooperative
                                                                  ✔
                                                                  ❑    Manufactured or mobile home
                                                                                                                                       Current value of the
                                                                                                                                       entire property?
                                                                                                                                                                        Current value of the
                                                                                                                                                                        portion you own?
                                                                  ❑    Land
                El Cajon, CA 92019                                ❑    Investment property                                                           $250,000.00                  $250,000.00

                City         State               ZIP Code         ❑    Timeshare
                                                                                                                                       Describe the nature of your ownership interest
                                                                  ❑    Other                                                           (such as fee simple, tenancy by the entireties, or
                San Diego                                                                                                              a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                County
                                                                  ✔
                                                                  ❑    Debtor 1 only                                                    Fee Simple
                                                                  ❑    Debtor 2 only
                                                                                                                                       ✔
                                                                  ❑    Debtor 1 and Debtor 2 only                                      ❑    Check if this is community property
                                                                                                                                            (see instructions)
                                                                  ❑    At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

                                                                  Source of Value: 3.21.23 BPO



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                 $250,000.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑    No
           ✔
           ❑    Yes




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       Case 23-01017-MM7                                Filed 04/14/23                    Entered 04/14/23 19:28:25                                  Doc 1            Pg. 12 of 137

Debtor Marshall Jr, Jack F.                                                                                                 Case number (if known)



       3.1     Make:                           Jeep              Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                             Wrangler Unlimited
                             Sport                               ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.
                                                                 ❑
               Model:
                                                                      Debtor 1 and Debtor 2 only
                                                                                                                                      Current value of the             Current value of the
               Year:                           2016              ❑    At least one of the debtors and another
                                                                                                                                      entire property?                 portion you own?

               Approximate mileage:            53,000            ✔
                                                                 ❑    Check if this is community property (see                                        $17,000.00                  $17,000.00
                                                                      instructions)
               Other information:

                   Vehicle stolen twice
                   VIN: 1C4BJWDG6GL342092

       If you own or have more than one, describe here:

       3.2     Make:                           Suburu            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                               Crosstrek 2.0i Limited
               Model:
                                                                 ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.

               Year:                           2018              ❑    Debtor 1 and Debtor 2 only
                                                                                                                                      Current value of the             Current value of the
                                                                 ❑    At least one of the debtors and another
                                                                                                                                      entire property?                 portion you own?
                                               91,000
               Approximate mileage:
                                                                 ✔
                                                                 ❑    Check if this is community property (see                                        $15,500.00                  $15,500.00
               Other information:                                     instructions)

                   VIN: JF2GTAMC0K8290231


       3.3     Make:                        Forest River         Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                             Palomini Series
                             M-178RK                             ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.
                                                                 ❑
               Model:
                                                                      Debtor 1 and Debtor 2 only
                                                                                                                                      Current value of the             Current value of the
               Year:                           2018              ❑    At least one of the debtors and another
                                                                                                                                      entire property?                 portion you own?

               Approximate mileage:            N/A               ✔
                                                                 ❑    Check if this is community property (see                                        $11,000.00                  $11,000.00
                                                                      instructions)
               Other information:

                   Travel trailer



 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔
       ❑     No

       ❑     Yes


       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Model:
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                 ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.
               Year:                                             ❑    Debtor 1 and Debtor 2 only
                                                                                                                                      Current value of the             Current value of the
                                                                 ❑    At least one of the debtors and another
                                                                                                                                      entire property?                 portion you own?
               Other information:
                                                                 ❑    Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                 $43,500.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:            Describe Your Personal and Household Items



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 Do you own or have any legal or equitable interest in any of the following items?                                                      Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                      Ordinary, necessary household goods and furnishings                                                            $1,950.00


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                      See Attached.                                                                                                  $1,500.00


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔
       ❑   No

       ❑   Yes. Describe. .........



 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔
       ❑   No

       ❑   Yes. Describe. .........



 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                      30-06 rifle and 12 ga shotgun                                                                                    $800.00


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                      Personal wardrobe                                                                                                $200.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                      Wedding set, watch, misc fashion jewelry                                                                       $3,200.00




Official Form 106A/B                                                  Schedule A/B: Property                                                            page 3
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Debtor Marshall Jr, Jack F.                                                                                                                          Case number (if known)



 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ❑    No
       ✔
       ❑    Yes. Describe. .........
                                                   Family dog                                                                                                                                                      $50.00


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. .............




                                                                                                                                                                                       ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                               $7,700.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:            Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔
       ❑    No

       ❑    Yes ...................................................................................................................................................   Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑    No
       ✔
       ❑    Yes .....................                                                          Institution name:

                                             17.1. Checking account:                            Cabrillo Cr Union - #46380                                                                                        $300.00

                                             17.2. Checking account:                            Wells Fargo #8110 - Business checking                                                                            unknown

                                             17.3. Savings account:                             Cabrillo Cr Union -#280-99 [Debtor]                                                                             $1,844.00

                                             17.4. Savings account:                             Mission Fed CU# 9790-01                                                                                           $131.00

                                             17.5. Savings account:                             North Island Fed CU - #5662                                                                                        $20.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔
       ❑    No

       ❑    Yes .....................       Institution or issuer name:




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Debtor Marshall Jr, Jack F.                                                                          Case number (if known)



 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑   No
       ✔
       ❑   Yes. Give specific
           information about
           them....................     Name of entity:                                                      % of ownership:

                                         Superior Creations, Inc. dba Superior Pools [ceased operations]                 100.00%                      $0.00


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about
           them....................     Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑   No
       ✔
       ❑   Yes. List each
           account separately. Type of account:                 Institution name:

                                        IRA:                     Edward Jones                                                                  $100,000.00

                                        IRA:                     Edward Jones                                                                  $170,000.00

                                        IRA:                     Edward Jones - 431-1-7                                                         $64,832.00


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔
       ❑   No

       ❑   Yes ......................                        Institution name or individual:

                                        Electric:

                                        Gas:

                                        Heating oil:

                                        Security deposit on rental unit:

                                        Prepaid rent:

                                        Telephone:

                                        Water:

                                        Rented furniture:

                                        Other:




Official Form 106A/B                                                        Schedule A/B: Property                                                 page 5
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Debtor Marshall Jr, Jack F.                                                                                 Case number (if known)



 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔
       ❑   No

       ❑   Yes .....................   Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔
       ❑   No

       ❑   Yes .....................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.

 28.   Tax refunds owed to you

       ✔
       ❑   No

       ❑   Yes. Give specific information about
                them, including whether you                                                                           Federal:
                already filed the returns and
                                                                                                                      State:
                the tax years. ...................
                                                                                                                      Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement



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Debtor Marshall Jr, Jack F.                                                                              Case number (if known)



       ✔
       ❑   No

       ❑   Yes. Give specific information. ........
                                                                                                                   Alimony:

                                                                                                                   Maintenance:

                                                                                                                   Support:

                                                                                                                   Divorce settlement:

                                                                                                                   Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔
       ❑   No

       ❑   Yes. Give specific information. ........



 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔
       ❑   No

       ❑   Yes. Name the insurance company
                of each policy and list its value. ...    Company name:                            Beneficiary:                           Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔
       ❑   No

       ❑   Yes. Give specific information. ........



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ❑   No
       ✔
       ❑   Yes. Describe each claim. ..............
                                                         Elder abuse claim against Debtor's son                                                            unknown


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔
       ❑   No

       ❑   Yes. Describe each claim. ..............



 35.   Any financial assets you did not already list

       ✔
       ❑   No

       ❑   Yes. Give specific information. ........




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Debtor Marshall Jr, Jack F.                                                                                                            Case number (if known)




                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                            $337,127.00
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔
       ❑    No. Go to Part 6.

       ❑    Yes. Go to line 38.

                                                                                                                                                                                   Current value of the
                                                                                                                                                                                   portion you own?
                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                   claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 41.   Inventory

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 42.   Interests in partnerships or joint ventures

       ✔
       ❑    No

       ❑    Yes. Describe .......

                                         Name of entity:                                                                                            % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔
       ❑    No

       ❑    Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                   ❑     No

                   ❑     Yes. Describe. .........




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Debtor Marshall Jr, Jack F.                                                                                                            Case number (if known)



 44.   Any business-related property you did not already list

       ✔
       ❑    No

       ❑    Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                   $0.00
       for Part 5. Write that number here .................................................................................................................................


  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔
       ❑    No. Go to Part 7.

       ❑    Yes. Go to line 47.

                                                                                                                                                                                   Current value of the
                                                                                                                                                                                   portion you own?
                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                   claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔
       ❑    No

       ❑    Yes ..........................



 48.   Crops—either growing or harvested

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔
       ❑    No

       ❑    Yes ..........................



 50.   Farm and fishing supplies, chemicals, and feed

       ✔
       ❑    No

       ❑    Yes ..........................



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............




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                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                      $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                     $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔           $250,000.00


 56.   Part 2: Total vehicles, line 5                                                                                $43,500.00

 57.   Part 3: Total personal and household items, line 15                                                             $7,700.00

 58.   Part 4: Total financial assets, line 36                                                                     $337,127.00

 59.   Part 5: Total business-related property, line 45                                                                      $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                             $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                         $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                            $388,327.00            Copy personal property total             ➔     +     $388,327.00



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                   $638,327.00




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Debtor Marshall Jr, Jack F.                                                    Case number (if known)



                 Continuation Page

 7.               Electronics

                  Home PC and printer                                                                               $650.00

                  TV, DVD player, and sound system                                                                  $850.00




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 Fill in this information to identify your case:

  Debtor 1                    Jack                 F.                   Marshall, Jr
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                        Southern District of California

  Case number                                                                                                                           ❑   Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                         04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on             Current value of the        Amount of the exemption you claim            Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from         Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                       ✔
                                                                                       ❑              $250,000.00                  C.C.P. § 704.730
 1284 E Washington Ave Spc 6 El Cajon, CA                               $250,000.00
 92019                                                                                 ❑    100% of fair market value, up
                                                                                            to any applicable statutory limit
 Line from
 Schedule A/B:          1.1

 Brief description:
                                                                                       ✔
                                                                                       ❑                $7,500.00                  C.C.P. § 704.010
 2016 Jeep Wrangler Unlimited Sport                                      $17,000.00
 VIN: 1C4BJWDG6GL342092 Vehicle stolen twice                                           ❑    100% of fair market value, up
                                                                                            to any applicable statutory limit
 Line from
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                         page 1 of 3
             Case 23-01017-MM7                   Filed 04/14/23        Entered 04/14/23 19:28:25                      Doc 1    Pg. 23 of 137


 Debtor 1             Jack              F.                    Marshall, Jr                                  Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑               $1,950.00                  C.C.P. § 704.020
 Ordinary, necessary household goods and                          $1,950.00
 furnishings                                                                  ❑   100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑                $850.00                   C.C.P. § 704.020
 TV, DVD player, and sound system                                   $850.00
                                                                              ❑   100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                              ✔
                                                                              ❑                $650.00                   C.C.P. § 704.020
 Home PC and printer                                                $650.00
                                                                              ❑   100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                              ✔
                                                                              ❑                $800.00                   C.C.P. § 704.020
 30-06 rifle and 12 ga shotgun                                      $800.00
                                                                              ❑   100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        10

 Brief description:
                                                                              ✔
                                                                              ❑                $200.00                   C.C.P. § 704.020
 Personal wardrobe                                                  $200.00
                                                                              ❑   100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                              ✔
                                                                              ❑               $3,200.00                  C.C.P. § 704.040
 Wedding set, watch, misc fashion jewelry                         $3,200.00
                                                                              ❑   100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                              ✔
                                                                              ❑                $300.00                   42 U.S.C. § 407
 Cabrillo Cr Union - #46380                                         $300.00
 Checking account                                                             ❑   100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                              ✔
                                                                              ❑               $1,844.00                  42 U.S.C. § 407
 Cabrillo Cr Union -#280-99 [Debtor]                              $1,844.00
 Savings account                                                              ❑   100% of fair market value, up
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 2 of 3
             Case 23-01017-MM7                   Filed 04/14/23        Entered 04/14/23 19:28:25                      Doc 1    Pg. 24 of 137


 Debtor 1             Jack              F.                    Marshall, Jr                                  Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑             $100,000.00                  C.C.P. § 704.115(b)
 Edward Jones                                                  $100,000.00
                                                                              ❑   100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        21

 Brief description:
                                                                              ✔
                                                                              ❑             $170,000.00                  C.C.P. § 704.115(b)
 Edward Jones                                                  $170,000.00
                                                                              ❑   100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        21

 Brief description:
                                                                              ✔
                                                                              ❑              $64,832.00                  C.C.P. § 704.115(b)
 Edward Jones - 431-1-7                                          $64,832.00
                                                                              ❑   100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        21




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 3 of 3
               Case 23-01017-MM7                           Filed 04/14/23               Entered 04/14/23 19:28:25                  Doc 1         Pg. 25 of 137


 Fill in this information to identify your case:

  Debtor 1                       Jack                    F.                     Marshall, Jr
                                 First Name              Middle Name           Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name           Last Name

  United States Bankruptcy Court for the:                                Southern District of California

  Case number                                                                                                                                  ❑    Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and
case number (if known).
1. Do any creditors have claims secured by your property?
   ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔ Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor                         Column A            Column B            Column C
    separately for each claim. If more than one creditor has a particular claim, list the other                       Amount of claim     Value of            Unsecured
    creditors in Part 2. As much as possible, list the claims in alphabetical order according to the                  Do not deduct the   collateral that     portion
    creditor’s name.                                                                                                  value of            supports this       If any
                                                                                                                      collateral.         claim

 2.1 Capital One Auto Finance                                 Describe the property that secures the claim:                $21,201.00           $15,500.00            $5,701.00
      Creditor's Name
                                                               2018 Suburu Crosstrek 2.0i Limited
      Attn: Bankruptcy
      7933 Preston Rd
                                                              As of the date you file, the claim is: Check all that
      Number            Street
                                                              apply.
                                                              ❑ Contingent
      Plano, TX 75024-2302
      City                        State       ZIP Code
      Who owes the debt? Check one.                           ❑ Unliquidated
      ✔ Debtor 1 only
      ❑                                                       ❑ Disputed
      ❑ Debtor 2 only                                         Nature of lien. Check all that apply.
      ❑ Debtor 1 and Debtor 2 only                            ✔ An agreement you made (such as mortgage
                                                              ❑
      ❑ At least one of the debtors and                          or secured car loan)
          another                                             ❑ Statutory lien (such as tax lien, mechanic's
      ❑ Check if this claim relates to a                         lien)
          community debt                                      ❑ Judgment lien from a lawsuit
      Date debt was incurred
                                                              ✔ Other (including a right to offset)
                                                              ❑
      8/1/2021                                                   Purchase money lien

                                                              Last 4 digits of account number 1          0   0   1

      Add the dollar value of your entries in Column A on this page. Write that number here:                                     $21,201.00




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of 2
                Case 23-01017-MM7                  Filed 04/14/23              Entered 04/14/23 19:28:25                  Doc 1          Pg. 26 of 137


 Debtor 1                Jack                F.                      Marshall, Jr                                  Case number (if known)
                         First Name          Middle Name             Last Name


                                                                                                             Column A             Column B          Column C
                Additional Page
                                                                                                             Amount of claim      Value of          Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                           Do not deduct the    collateral that   portion
                2.3, followed by 2.4, and so forth.                                                          value of             supports this     If any
                                                                                                             collateral.          claim


 2.2                                                 Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                     As of the date you file, the claim is: Check all that
                                                     apply.
                                                     ❑ Contingent
       City                     State   ZIP Code
       Who owes the debt? Check one.
       ❑ Debtor 1 only                               ❑ Unliquidated
       ❑ Debtor 2 only                               ❑ Disputed
       ❑ Debtor 1 and Debtor 2 only                  Nature of lien. Check all that apply.
       ❑ At least one of the debtors and             ❑ An agreement you made (such as mortgage
          another                                          or secured car loan)
       ❑ Check if this claim relates to a            ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                   lien)

       Date debt was incurred
                                                     ❑ Judgment lien from a lawsuit
                                                     ❑ Other (including a right to offset)
                                                     Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                                    $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number             $21,201.00
       here:




Official Form 106D                           Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 2
               Case 23-01017-MM7                     Filed 04/14/23             Entered 04/14/23 19:28:25                    Doc 1       Pg. 27 of 137
 Fill in this information to identify your case:

  Debtor 1                  Jack                   F.                   Marshall, Jr
                            First Name             Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name         Last Name

  United States Bankruptcy Court for the:                        Southern District of California

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
     claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
     amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
     fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total       Priority       Nonpriority
                                                                                                                             claim       amount         amount

2.1      Franchise Tax Board                                                                                                  $18,000.00     $18,000.00           $0.00
                                                                     Last 4 digits of account number
        Priority Creditor's Name
                                                                     When was the debt incurred?
         PO Box 2952
                                                                     As of the date you file, the claim is: Check all that
         Personal Bankruptcy MS A340                                 apply.
        Number          Street                                       ❑ Contingent
         Sacramento, CA 95812-2952                                   ❑ Unliquidated
        City                             State     ZIP Code
                                                                     ❑ Disputed
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑                                                            Type of PRIORITY unsecured claim:
                                                                     ❑ Domestic support obligations
        ❑ Debtor 2 only                                              ✔ Taxes and certain other debts you owe the
                                                                     ❑
        ❑ Debtor 1 and Debtor 2 only                                    government
        ❑ At least one of the debtors and another                    ❑ Claims for death or personal injury while you
        ❑ Check if this claim is for a community debt                   were intoxicated
                                                                     ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
         Remarks: 2021 income tax estimate




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of 65
              Case 23-01017-MM7                   Filed 04/14/23            Entered 04/14/23 19:28:25                    Doc 1       Pg. 28 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                    Case number (if known)
                      First Name           Middle Name            Last Name

 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                 Total      Priority        Nonpriority
                                                                                                                         claim      amount          amount

2.2     Internal Revenue Service                                                                                           $16,000.00      $15,000.00    $1,000.00
                                                                 Last 4 digits of account number
       Priority Creditor's Name
                                                                 When was the debt incurred?
        PO Box 7346
                                                                 As of the date you file, the claim is: Check all that
        Centralized Insolvency Opns                              apply.
       Number          Street
                                                                 ❑ Contingent
                                                                 ❑
        Philadelphia, PA 19101-7346
       City                            State    ZIP Code             Unliquidated

       Who incurred the debt? Check one.                         ❑   Disputed
       ✔ Debtor 1 only
       ❑                                                         Type of PRIORITY unsecured claim:
       ❑      Debtor 2 only                                      ❑ Domestic support obligations
       ❑      Debtor 1 and Debtor 2 only
                                                                 ✔
                                                                 ❑   Taxes and certain other debts you owe the
                                                                     government
       ❑      At least one of the debtors and another
                                                                 ❑   Claims for death or personal injury while you
       ❑      Check if this claim is for a community debt            were intoxicated
       Is the claim subject to offset?                           ❑   Other. Specify
       ✔ No
       ❑
       ❑      Yes
       Remarks: 2021 income tax estimated liability




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 2 of 65
              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                     Doc 1         Pg. 29 of 137
 Debtor 1             Jack                  F.                     Marshall, Jr                                     Case number (if known)
                      First Name            Middle Name            Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part
     1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the
     Continuation Page of Part 2.
                                                                                                                                                   Total claim

4.1     1st Choice Backflow Testing & Svc                                                                                                                  unknown
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        Po Box 584
       Number          Street
                                                                             As of the date you file, the claim is: Check all that apply.
        Chino Hills, CA 91709-0020
                                                                             ❑ Contingent
       City                            State     ZIP Code                    ❑    Unliquidated
       Who incurred the debt? Check one.                                     ❑    Disputed
       ❑ Debtor 1 only                                                       Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑ Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑    Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑                                                                     ❑    Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt
                                                                                  similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑    Other. Specify
       ✔ No
       ❑                                                                          Potential derivative claim
       ❑      Yes

4.2     Alpha Steel Corporation                                                                                                                            unknown
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        30650 Rancho Road
       Number          Street
                                                                             As of the date you file, the claim is: Check all that apply.
        Nuevo, CA 92567
                                                                             ❑ Contingent
       City                            State     ZIP Code                    ❑    Unliquidated
       Who incurred the debt? Check one.                                     ❑    Disputed
       ❑ Debtor 1 only                                                       Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑ Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑    Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑                                                                     ❑    Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt
                                                                                  similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑    Other. Specify
       ✔ No
       ❑                                                                          Potential derivative claim
       ❑      Yes

4.3     Alpine Rock & Block                                                                                                                                unknown
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        13288 Highway 8 Business
       Number          Street
                                                                             As of the date you file, the claim is: Check all that apply.
        El Cajon, CA 92021-1871
                                                                             ❑ Contingent
       City                            State     ZIP Code                    ❑    Unliquidated
       Who incurred the debt? Check one.                                     ❑    Disputed
       ❑ Debtor 1 only                                                       Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑ Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                     ❑    Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑                                                                     ❑    Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt
                                                                                  similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑    Other. Specify
       ✔ No
       ❑                                                                          Potential derivative claim through Superior Pools
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 3 of 65
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 Debtor 1             Jack                 F.                     Marshall, Jr                                   Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.4     A-Pot Rentals, Inc                                                                                                                            unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        9113 Olive Dr
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Spring Valley, CA 91977-2304                                       ❑     Contingent
       City                            State    ZIP Code                   ❑     Unliquidated
       Who incurred the debt? Check one.                                   ❑     Disputed
       ❑      Debtor 1 only
                                                                           Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                   ❑     Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                           ❑     Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                     ✔
                                                                           ❑
       ✔
       ❑      No
                                                                                 Other. Specify
                                                                                 Potential derivative claim
       ❑      Yes

4.5     Arco Business Solutions                                                                                                                       unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        Po Box 70887
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Charlotte, NC 28272-0887                                           ❑     Contingent
       City                            State    ZIP Code                   ❑     Unliquidated
       Who incurred the debt? Check one.                                   ❑     Disputed
       ❑      Debtor 1 only
                                                                           Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                   ❑     Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                           ❑     Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                     ✔
                                                                           ❑
       ✔
       ❑      No
                                                                                 Other. Specify
                                                                                 Potential derivative claim
       ❑      Yes

4.6     Berlin-Wheeler, Inc                                                                                                                            $643.00
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        2942a Sw Wanamaker Dr Ste 200
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Topeka, KS 66614-4479                                              ❑     Contingent
       City                            State    ZIP Code                   ❑     Unliquidated
       Who incurred the debt? Check one.                                   ❑     Disputed
       ✔
       ❑      Debtor 1 only
                                                                           Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                ❑     Student loans
       ❑      Debtor 1 and Debtor 2 only                                   ❑     Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                           ❑     Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                     ✔
                                                                           ❑
       ✔
       ❑      No
                                                                                 Other. Specify
                                                                                 Collecting for Cox - Superior Pools debt
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4 of 65
              Case 23-01017-MM7                   Filed 04/14/23           Entered 04/14/23 19:28:25                     Doc 1          Pg. 31 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                   Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.7     Bernardo Ruiz                                                                                                                                 unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        1658 E Washington Ave
       Number          Street                                              As of the date you file, the claim is: Check all that apply.
        Escondido, CA 92027-2019                                           ❑     Contingent
       City                            State    ZIP Code                   ❑     Unliquidated
       Who incurred the debt? Check one.                                   ❑     Disputed
       ❑      Debtor 1 only
                                                                           Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                ❑     Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                   ❑     Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                           ❑     Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                     ✔
                                                                           ❑
       ✔
       ❑      No
                                                                                 Other. Specify
                                                                                 Potential derivative claim as sub of Superior Pools
       ❑      Yes

4.8     Bioventus LLC                                                      Last 4 digits of account number 2639                                        $780.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?        10/01/2015
        Bioventus LLC Exogen Claims
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box Box 732923
       Number          Street
                                                                           ❑     Contingent

        Dallas, TX 75373
                                                                           ❑     Unliquidated
       City                            State    ZIP Code                   ❑     Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                ❑     Student loans
       ❑      Debtor 2 only                                                ❑     Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
                                                                           ❑
       ❑      At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                  ✔
                                                                           ❑     Other. Specify
       Is the claim subject to offset?                                           Medical Bill
       ✔
       ❑      No
       ❑  Yes
       Remarks: Medical - Collecting for Sharp Rees Stealy/Mary




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.9     Blue Star Steel, Inc                                                                                                                          unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        12122 Industry Rd
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Lakeside, CA 92040-1736                                               ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim
       ❑      Yes

4.10    Brett Hunter & David Giles                                                                                                                    unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        3852 Brems St
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        San Diego, CA 92115-7010
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.11    Brian Danielson                                                                                                                               unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        6250 Broadmoor Dr
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        La Mesa, CA 91942-4001                                                ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim through Superior Pools
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.12    Cabrillo Credit Union                                                 Last 4 digits of account number 0010                                    $2,577.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        10/01/2003
        10075 Carroll Canyon Rd
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        San Diego, CA 92131
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  CreditCard
       ❑      Yes

4.13    California Pool Company                                                                                                                       unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Po Box 232
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Jamul, CA 91935-0232                                                  ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim
       ❑      Yes

4.14    California Pool Plumbing, Inc                                                                                                                 unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        9818 Vine St
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Lakeside, CA 92040-3119                                               ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.15    Carl M. Lewis                                                                                                                              $100,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        02/01/2021
        Carl M. Lewis, Esq.
                                                                              As of the date you file, the claim is: Check all that apply.
        1916 Third Avenue
       Number          Street
                                                                              ❑   Contingent

        San Diego, CA 92101                                                   ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑   Yes
        Remarks: Representing Micaela Polanco

4.16    Christa Sloan                                                                                                                                 unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        308 Montego Bay
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Oceanside, CA 92057-4209
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.17    Christopher & Lisa Perez                                                                                                                    $54,967.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        15517 Mission Preserve Pl
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        San Diego, CA 92131                                                   ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim through Superior Pools
       ❑      Yes

4.18    City Electric Supply                                                                                                                          $1,555.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Po Box 5267
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Englewood, CO 80155-5267                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Vendor of Superior Pools - potential derivative
       ❑      Yes                                                                 claim

4.19    City of National City                                                                                                                         unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        c/o HdL Support Center
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                              ❑
        8639 N Cedar Ave # 212
       Number          Street                                                     Contingent

        Fresno, CA 93720                                                      ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      ✔
                                                                                  similar debts
              Check if this claim is for a community debt                     ❑   Other. Specify
       Is the claim subject to offset?                                            Potential derivative claim
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.20    Credence Resource Management                                          Last 4 digits of account number 9338                                     $280.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        01/01/2022
        PO Box Box 2420
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Southgate, MI 48195-4420
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Collection Agency
       ❑   Yes
        Remarks: Notice Only Collections - AMR Acct #
        8761354347701

4.21    Custom Pool Plastering                                                                                                                        unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        8045 Wing Ave
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        El Cajon, CA 92020-1245                                               ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

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4.22    Doire Electric                                                                                                                                unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        2616 Alpine Blvd
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Alpine, CA 91901-2213                                                 ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim
       ❑      Yes

4.23    Douglas Gadd                                                                                                                                  unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        10812 Valle Vista Rd
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Lakeside, CA 92040-1728
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.24    Douglas Knight & Associates, Inc.                                     Last 4 digits of account number 4707                                 $162,042.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Sherry Gats
        Subrogation Specialist                                                As of the date you file, the claim is: Check all that apply.

        PO Box Box 10517                                                      ❑   Contingent
       Number          Street                                                 ❑   Unliquidated
        Bradenton, FL 34282                                                   ✔
                                                                              ❑   Disputed
       City                            State    ZIP Code
                                                                              Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one.
       ✔                                                                      ❑
       ❑
                                                                                  Student loans
              Debtor 1 only
                                                                              ❑
       ❑
                                                                                  Obligations arising out of a separation agreement or
              Debtor 2 only                                                       divorce that you did not report as priority claims
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Debts to pension or profit-sharing plans, and other
       ❑                                                                          similar debts
                                                                              ✔
              At least one of the debtors and another
       ❑                                                                      ❑   Other. Specify
              Check if this claim is for a community debt                         Potential derivative claim through Superior Pools
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑   Yes
        Remarks: Collection Collecting for Trumbull - USA

4.25    DW Yardscapes                                                                                                                                 unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        850 S Grade Rd
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Alpine, CA 91901-2914                                                 ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.26    Elio Gallardo                                                                                                                                 unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        521 W Bobier Dr Apt 304
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Vista, CA 92083-1810                                                  ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim - sales mgr for Superior
       ❑      Yes                                                                 Pools

4.27    Geico                                                                 Last 4 digits of account number 4707                                     $850.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Geico Commercial Dept
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box Box 822636
       Number          Street
                                                                              ❑   Contingent

        Philadelphia, PA 19182-2636                                           ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Ins. bill
       ✔
       ❑      No
       ❑   Yes
        Remarks: Commercial Insurance




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.28    Gemini                                                                Last 4 digits of account number 0163                                     $566.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2011
        6020 West Oaks Blvd
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Rocklin, CA 95765
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Potential derivative claim under Superior Pools
       ❑   Yes
        Remarks: Notice Only

4.29    Goodman Insurance Services                                                                                                                    unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        27042 Towne Centre Dr Ste 120
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Foothill Rnch, CA 92610-2820                                          ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim
       ❑      Yes




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 41 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.30    Horacio Camacho                                                                                                                             $83,450.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        9731 Ramo Rd
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Santee, CA 92071-2650
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.31    InfuSystem                                                            Last 4 digits of account number 8575                                     $346.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2022
        InfuSystem
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box Box 734350
       Number          Street
                                                                              ❑   Contingent

        Chicago, IL 60673-4350
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Medical Bill
       ✔
       ❑      No
       ❑   Yes
        Remarks: Medical - Mary




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.32    International Pools & Shotcrete                                                                                                               unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        428 Smith Ave
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Chula Vista, CA 91910-4324                                            ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim
       ❑      Yes

4.33    James & Mary Hitchcock                                                                                                                        unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        c/o Matthew D. Rifat, Esq
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                              ❑
        Po Box 19879
       Number          Street                                                     Contingent

        San Diego, CA 92159-0879                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      ✔
                                                                                  similar debts
              Check if this claim is for a community debt                     ❑   Other. Specify
       Is the claim subject to offset?                                            Derivative claim through Superior Pools
       ✔
       ❑      No
       ❑      Yes

4.34    Jared Roethlisberger                                                                                                                          unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        4608 Seda Cv
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        San Diego, CA 92124-2322
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.35    Jessica M. Martin                                                                                                                             unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        10426 Boulder Creed Rd
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Descanso, CA 91916
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential claim / amt unkown
       ❑      Yes

4.36    Joshua Teague                                                                                                                                 unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        4292 Gordon Way
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        La Mesa, CA 91942-5815
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.37    Katja Ahmari & Critelli Ortiz                                         Last 4 digits of account number 2184                                    unknown
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        c/o Sabrina L. Green, Esq
                                                                              As of the date you file, the claim is: Check all that apply.
        3703 Camino Del Rio S Ste 100b
       Number          Street
                                                                              ❑   Contingent

        San Diego, CA 92108-4032                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
       ✔
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Suit for Superior Pools breach of contract
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.38    Kimberly Baldridge and Bing Guerin                                                                                                          $53,450.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        07/01/2022
        1725 El Prado
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.

        Lemon Grove, CA 91945                                                 ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Potential derivative claim thru Superior Pools
       ❑   Yes
        Remarks: Superior Pools Customer

4.39    Kohl's / Cap One                                                                                                                               $276.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Attn: Credit Administrator
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                              ❑
        Po Box 3043
       Number          Street                                                     Contingent

        Milwaukee, WI 53201-3043                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      ✔
                                                                                  similar debts
              Check if this claim is for a community debt                     ❑   Other. Specify
       Is the claim subject to offset?                                            Credit Card
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.40    KRC Rock                                                                                                                                      unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        700 N Twin Oaks Valley Rd
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        San Marcos, CA 92069-1714                                             ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Possible derivative claim through Superior Pools
       ❑      Yes

4.41    Kroeger Family Properties                                                                                                                     unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Attn: Keith Kroeger
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                              ❑
        1679 E Main St Ste 202
       Number          Street                                                     Contingent

        El Cajon, CA 92021-5253                                               ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      ✔
                                                                                  similar debts
              Check if this claim is for a community debt                     ❑   Other. Specify
       Is the claim subject to offset?                                            Potential derivative claim - Superior Pools'
       ✔
       ❑      No                                                                  landlord

       ❑      Yes

4.42    LeRiche Pool and Spa                                                                                                                          unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Attn: Alex LeRiche
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                              ❑
        1106 2nd St # 364
       Number          Street                                                     Contingent

        Encinitas, CA 92024-5008                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      ✔
                                                                                  similar debts
              Check if this claim is for a community debt                     ❑   Other. Specify
       Is the claim subject to offset?                                            Potential derivative claim
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.43    Libertas Funding, LLC                                                                                                                      $169,476.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        411 W Putnam Ave Ste 220
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Greenwich, CT 06830-6295
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Business loan to Superior Creations, Inc. dba
       ❑      Yes                                                                 Superior Pools - debtor is guarantor

4.44    M/M Buchardt                                                                                                                                  unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        4084 Hatton St
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        San Diego, CA 92111-3444
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.45    M/M Denmark                                                                                                                                   unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        2027 Del Rincon Pl
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Escondido, CA 92026-4008
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.46    M/M Dominguez                                                                                                                                 unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1405 Perkins Dr
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Chula Vista, CA 91911-6901
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.47    M/M Minutella                                                                                                                                 unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        3263 Hawk St
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        San Diego, CA 92103-5338
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.48    M/M Murrin                                                                                                                                    unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        14312 Sawgrass Cir
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Valley Center, CA 92082-6643
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 48 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.49    M/M Reid                                                                                                                                      unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        10902 Anja Way
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Lakeside, CA 92040-2717
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.50    M/M Rich                                                                                                                                      unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        12139 Valhalla Dr
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Lakeside, CA 92040-4930
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.51    M/M Rivera                                                                                                                                    unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1289 Blue Sage Way
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Chula Vista, CA 91915-1614
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 49 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.52    M/M Romeo                                                                                                                                     unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        335 Plaza Los Osos
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Chula Vista, CA 91914-4417
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.53    M/M Szabo                                                                                                                                     unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        14361 Silver Heights Rd
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Poway, CA 92064-4971
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.54    M/M Fernandez                                                                                                                                 unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        13975 Shalyn Dr
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        El Cajon, CA 92021-7913
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 50 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.55    M/M Garcia                                                                                                                                    unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        781 Del Mar Ave
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Chula Vista, CA 91910-5939
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.56    M/M Godinez                                                                                                                                   unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1314 Palm Ave
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        National City, CA 91950-4929
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.57    M/M Hasherri                                                                                                                                  unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        18684 Bernardo Trails Dr
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        San Diego, CA 92128-1127
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 51 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.58    M/M Miller                                                                                                                                    unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        2651 Fieldbrook Way
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Escondido, CA 92027-1888
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.59    M/M Mulvaney                                                                                                                                  unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        5172 San Aquario Dr
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        San Diego, CA 92109-1510
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.60    Manuel Martinez                                                                                                                               unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        336 S A St Ste C
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Oxnard, CA 93030-5854                                                 ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim
       ❑      Yes




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 52 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.61    Mario Freitas                                                                                                                                 unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        25181 Poderio Dr
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Ramona, CA 92065-4717
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.62    Mark Mahler                                                                                                                                   unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        13409 Marjay Dr
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Lakeside, CA 92040-5152
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.63    Michael & Leanne Pusateris                                                                                                                    unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        623 Glenmont Dr
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Solana Beach, CA 92075-1314
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.64    Michaela Polanco                                                                                                                              unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1006 Calle Escarpada
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Bonita, CA 91902-2402
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Notice only - potential derivative claim through
       ❑      Yes                                                                 Superior Pools

4.65    Miranda Covalesky and Elizabeth Ihde                                                                                                          unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        06/01/2022
        4824 67th Street
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.

        San Diego, CA 92115                                                   ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Potential derivative claim thru Superior Pools
       ❑   Yes
        Remarks: Notice Only Customer




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.66    Moby Capital, LLC                                                                                                                          $216,954.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1700 So Lamar Blvd #331
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Austin, TX 78704
                                                                              ✔
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ✔
                                                                              ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Business loan to Superior Creations, Inc. dba
       ❑      Yes                                                                 Superior Pools - debtor is guarantor

4.67    Modern Builders Supply, Inc                                                                                                                   unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        825 Grand Ave
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        San Marcos, CA 92078-1224                                             ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim through Superior Pools
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.68    Mountain Materials                                                                                                                            $9,670.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2021
        1117 Tavern Rd
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.

        Alpine, CA 91901                                                      ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Potential derivative claim under Superior Pools
       ❑   Yes
        Remarks: Notice Only

4.69    National Pool Tile                                                                                                                            unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1550 Linda Vista Dr
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        San Marcos, CA 92078-3808                                             ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim through Superior Pools
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.70    Navigators Group, Inc,                                                                                                                        unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        c/o Jeffrey D. Horowitz, Esq
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                              ❑
        14156 Magnolia Blvd Ste 200
       Number          Street                                                     Contingent

        Sherman Oaks, CA 91423-1182                                           ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
       ✔
       ❑                                                                      ✔
                                                                                  similar debts
              Check if this claim is for a community debt                     ❑   Other. Specify
       Is the claim subject to offset?                                            Derivative claim through Superior Pools
       ✔
       ❑      No
       ❑      Yes

4.71    Numotion                                                              Last 4 digits of account number 0545                                     $145.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        11/01/2020
        Numotion
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 88063 K
       Number          Street
                                                                              ❑   Contingent

        Milwaukee, WI 53288-0063
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Medical Bill
       ✔
       ❑      No
       ❑   Yes
        Remarks: Medical - Mary




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.72    Paychex                                                                                                                                        $882.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Po Box 911931
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Dallas, TX 75391-1931                                                 ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Payroll services - potential claim thru Superior
       ❑      Yes                                                                 Pools

4.73    Phoenix Financial Services, LLC                                       Last 4 digits of account number 5346                                     $250.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        01/01/2023
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 361450
       Number          Street
                                                                              ❑   Contingent

        Indianapolis,, IN 46236
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            CollectionAttorney
       ✔
       ❑      No
       ❑      Yes

4.74    Phoenix Financial Services, LLC                                       Last 4 digits of account number 2628                                     $250.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        01/01/2023
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 361450
       Number          Street
                                                                              ❑   Contingent

        Indianapolis,, IN 46236
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            CollectionAttorney
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.75    Phoenix Financial Services, LLC                                       Last 4 digits of account number 2627                                     $250.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        01/01/2023
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 361450
       Number          Street
                                                                              ❑   Contingent

        Indianapolis,, IN 46236
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            CollectionAttorney
       ✔
       ❑      No
       ❑      Yes

4.76    Phoenix Financial Services, LLC                                       Last 4 digits of account number 2625                                     $250.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        01/01/2023
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 361450
       Number          Street
                                                                              ❑   Contingent

        Indianapolis,, IN 46236
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            CollectionAttorney
       ✔
       ❑      No
       ❑      Yes

4.77    Phoenix Financial Services, LLC                                       Last 4 digits of account number 2624                                     $250.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        01/01/2023
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 361450
       Number          Street
                                                                              ❑   Contingent

        Indianapolis,, IN 46236
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            CollectionAttorney
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.78    Phoenix Financial Services, LLC                                       Last 4 digits of account number 2626                                     $227.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        01/01/2023
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 361450
       Number          Street
                                                                              ❑   Contingent

        Indianapolis,, IN 46236
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            CollectionAttorney
       ✔
       ❑      No
       ❑      Yes

4.79    Phx Mgmt Sol                                                          Last 4 digits of account number 9237                                  $14,200.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        09/06/2022
        10000 N 31st Av
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Phoenix, AZ 85051
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Business loan to Superior Creations, Inc. dba
       ❑      Yes
                                                                                  Superior Pools - debtor is guarantor




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.80    PMS                                                                   Last 4 digits of account number 9087                                    $1,420.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        12/01/2021
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice Only

4.81    PMS                                                                   Last 4 digits of account number 3942                                     $773.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        12/01/2021
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice Only Collecting for Sharp Health Care




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 61 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.82    PMS                                                                   Last 4 digits of account number 1548                                     $495.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        08/01/2022
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice Only Collecting for Sharp Grossmont
        Hospital

4.83    PMS                                                                   Last 4 digits of account number 5427                                     $520.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        01/01/2021
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice Only Collecting for Sharp Memorial Hospital -
        Mary




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 62 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.84    PMS                                                                   Last 4 digits of account number 0460                                          $78.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        03/01/2021
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice Only Collections - Sharp Rees-Stealy
        Medical Group Medical - Jack

4.85    PMS                                                                   Last 4 digits of account number 7929                                     $276.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        06/01/2019
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice Only Collections - Sharp Rees-Stealy Med
        Grp Medical - Mary




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 63 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.86    PMS                                                                   Last 4 digits of account number 8753                                     $192.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738                                            ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice Only Collections - Sharp Rees-Stealy Med
        Grp Medical - Mary

4.87    PMS                                                                   Last 4 digits of account number 3493                                          $30.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738                                            ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice Only Collections - Sharp Rees-Stealy Med
        Grp Medical - Jack




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 64 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.88    PMS                                                                   Last 4 digits of account number 4103                                    $1,143.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738                                            ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice Only Collections - Sharp Health Care
        Medical - Mary

4.89    PMS                                                                   Last 4 digits of account number 1548                                     $515.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738                                            ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice Only Collection - Sharp Grossmont Hospital




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 65 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.90    PMS                                                                   Last 4 digits of account number 6950                                     $306.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738                                            ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑    Yes
        Remarks: Notice Only Collection - Sharp Rees-Stealy Med
        Grp

4.91    PMS                                                                   Last 4 digits of account number 8614                                     $717.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738                                            ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑   Yes
        Remarks: Notice Only Collection - Sharp Memorial Hospital




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 66 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.92    PMS                                                                   Last 4 digits of account number 5801                                     $108.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738                                            ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑    Yes
        Remarks: Notice Only Collection - Sharp Rees-Stealy Med
        Grp

4.93    PMS                                                                   Last 4 digits of account number 3274                                     $166.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738                                            ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑    Yes
        Remarks: Notice Only Collection - Sharp Rees Stealy Med
        Grp




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              Case 23-01017-MM7                  Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 67 of 137
 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.94    PMS                                                                   Last 4 digits of account number 7302                                     $206.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Progressive Management Systems
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 West Cameron Ave.
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790-2738                                            ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Collection Agency
       ✔
       ❑      No
       ❑    Yes
        Remarks: Notice Only Collection - Sharp Rees Stealy Med
        Grp

4.95    Poolsafe                                                              Last 4 digits of account number 7336                                  $86,926.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        c/o G B Collections, LLC
                                                                              As of the date you file, the claim is: Check all that apply.
        1253 Haddonfield Berlin Rd
       Number          Street
                                                                              ❑   Contingent

        Voorhees, NJ 08043-4847                                               ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                              ❑   Debts to pension or profit-sharing plans, and other
       ✔
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            Superior Pools vendor - potential derivative claim
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Jack                 F.                     Marshall, Jr                                      Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim

4.96    Portfolio Recovery Associates, LLC                                    Last 4 digits of account number 7756                                     $298.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        11/01/2017
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        120 Corporate Boulevard
       Number          Street
                                                                              ❑   Contingent

        Norfolk, VA 23502
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            FactoringCompanyAccount - Collection for
       ✔
       ❑      No
                                                                                  Amazon card

       ❑      Yes

4.97    Prime One Concrete Pumping, Inc                                                                                                               unknown
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        Po Box 891933
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        Temecula, CA 92589-1933                                               ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify
                                                                                  Potential derivative claim through Superior Pools
       ❑      Yes

4.98    Progressive Management Systems                                        Last 4 digits of account number 8682                                     $123.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        04/16/2018
        Attn: Bankruptcy Department
                                                                              As of the date you file, the claim is: Check all that apply.
        1521 W Cameron Ave. , First Floor
       Number          Street
                                                                              ❑   Contingent

        West Covina, CA 91790
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
       ✔                                                                      ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            UnknownLoanType
       ✔
       ❑      No
       ❑      Yes




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 69 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.99        Progressive Mgmt Systems                                            Last 4 digits of account number 3942                                      $648.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        07/01/2022
            Progressive Management Systems
                                                                                As of the date you file, the claim is: Check all that apply.
            1521 W Cameron Ave Fl 1
         Number          Street
                                                                                ❑   Contingent

            West Covina, CA 91790-0000
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Collection Agency
         ✔
         ❑      No
         ❑     Yes
            Remarks: Notice Only Collecting for Sharp Memorial Hospital

4.100       R and R Backflow Service and Testing                                Last 4 digits of account number 2587                                      $235.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        2022
            PO Box Box 584
                                                                                As of the date you file, the claim is: Check all that apply.
         Number          Street
            Chino Hills, CA 91709
                                                                                ❑   Contingent
         City                            State     ZIP Code                     ❑   Unliquidated
         Who incurred the debt? Check one.                                      ❑   Disputed
         ✔
         ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

         ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
                Check if this claim is for a community debt                         similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑   Other. Specify
         ✔
         ❑      No                                                                  Potential derivative claim under Superior Pools
         ❑     Yes
            Remarks: Notice Only




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 70 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.101       Ruben & Mayra Suarez                                                                                                                        unknown
                                                                                Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            949 Camino Cantera
         Number          Street                                                 As of the date you file, the claim is: Check all that apply.
            Chula Vista, CA 91913-3330
                                                                                ✔
                                                                                ❑   Contingent
         City                            State     ZIP Code                     ✔
                                                                                ❑   Unliquidated
         Who incurred the debt? Check one.                                      ✔
                                                                                ❑   Disputed
         ✔
         ❑      Debtor 1 only
                                                                                Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
         ❑      Check if this claim is for a community debt
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑
         ✔
         ❑      No
                                                                                    Other. Specify
                                                                                    Notice only - potential derivative claim through
         ❑      Yes                                                                 Superior Pools

4.102       San Diego City Treasurer                                                                                                                    $1,063.00
                                                                                Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            PO Box 129039
         Number          Street                                                 As of the date you file, the claim is: Check all that apply.
            San Diego, CA 92112-9039                                            ❑   Contingent
         City                            State     ZIP Code                     ❑   Unliquidated
         Who incurred the debt? Check one.                                      ❑   Disputed
         ❑      Debtor 1 only
                                                                                Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ✔
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
         ❑      Check if this claim is for a community debt
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑
         ✔
         ❑      No
                                                                                    Other. Specify
                                                                                    Fees for permits - potential claim through Superior
         ❑      Yes                                                                 Pools

4.103       San Juanico & Javier Navarro                                                                                                                unknown
                                                                                Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            698 Vista San Javier
         Number          Street                                                 As of the date you file, the claim is: Check all that apply.
            San Diego, CA 92154
                                                                                ✔
                                                                                ❑   Contingent
         City                            State     ZIP Code                     ✔
                                                                                ❑   Unliquidated
         Who incurred the debt? Check one.                                      ✔
                                                                                ❑   Disputed
         ✔
         ❑      Debtor 1 only
                                                                                Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
         ❑      Check if this claim is for a community debt
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑
         ✔
         ❑      No
                                                                                    Other. Specify
                                                                                    Notice only - potential derivative claim through
         ❑      Yes                                                                 Superior Pools




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 71 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.104       Sandy S. Isaac                                                                                                                             $10,000.00
                                                                                Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            3024 S Bonita St
         Number          Street                                                 As of the date you file, the claim is: Check all that apply.
            Spring Valley, CA 91977-3013
                                                                                ✔
                                                                                ❑   Contingent
         City                            State     ZIP Code                     ✔
                                                                                ❑   Unliquidated
         Who incurred the debt? Check one.                                      ✔
                                                                                ❑   Disputed
         ✔
         ❑      Debtor 1 only
                                                                                Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
         ❑      Check if this claim is for a community debt
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑
         ✔
         ❑      No
                                                                                    Other. Specify
                                                                                    Notice only - potential derivative claim through
         ❑      Yes                                                                 Superior Pools

4.105       Sawyer Fabrication                                                                                                                          unknown
                                                                                Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            7271 Barker Way
         Number          Street                                                 As of the date you file, the claim is: Check all that apply.
            San Diego, CA 92119-1319                                            ❑   Contingent
         City                            State     ZIP Code                     ❑   Unliquidated
         Who incurred the debt? Check one.                                      ❑   Disputed
         ❑      Debtor 1 only
                                                                                Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ✔
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
         ✔
         ❑      Check if this claim is for a community debt
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑
         ✔
         ❑      No
                                                                                    Other. Specify
                                                                                    Potential derivative claim
         ❑      Yes

4.106       SD Beavers                                                                                                                                  unknown
                                                                                Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            13916 Illerongis Rd
         Number          Street                                                 As of the date you file, the claim is: Check all that apply.
            Jamul, CA 91935-3151
                                                                                ✔
                                                                                ❑   Contingent
         City                            State     ZIP Code                     ✔
                                                                                ❑   Unliquidated
         Who incurred the debt? Check one.                                      ✔
                                                                                ❑   Disputed
         ✔
         ❑      Debtor 1 only
                                                                                Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
         ❑      Check if this claim is for a community debt
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑
         ✔
         ❑      No
                                                                                    Other. Specify
                                                                                    Notice only - potential derivative claim through
         ❑      Yes                                                                 Superior Pools




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 72 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.107       Sharp Grossmont Hospital                                            Last 4 digits of account number 7893                                          $75.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        07/30/2019
            Sharp Grossmont Hospital
                                                                                As of the date you file, the claim is: Check all that apply.
            File # 748424
         Number          Street
                                                                                ❑   Contingent

            Los Angeles, CA 90074-8424
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Jack

4.108       Sharp Home Infusion Services                                        Last 4 digits of account number 7701                                      $548.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        2018
            Sharp Home Infusion Services
                                                                                As of the date you file, the claim is: Check all that apply.
            PO Box Box 2307
         Number          Street
                                                                                ❑   Contingent

            La Mesa, CA 91943-2307
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Mary




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 73 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.109       Sharp Home Infusion Services                                        Last 4 digits of account number 7701                                    $1,653.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        2022
            Sharp Home Infusion Services
                                                                                As of the date you file, the claim is: Check all that apply.
            PO Box Box 2307
         Number          Street
                                                                                ❑   Contingent

            La Mesa, CA 91943-2307
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Mary

4.110       Sharp Memorial Hosp                                                 Last 4 digits of account number 1058                                    $1,143.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        2021
            Sharp
                                                                                As of the date you file, the claim is: Check all that apply.
            8695 Spectrum Center Blvd
         Number          Street
                                                                                ❑   Contingent

            San Diego, CA 92123-0000
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Mary




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              Case 23-01017-MM7                   Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 74 of 137
 Debtor 1            Jack                   F.                     Marshall, Jr                                    Case number (if known)
                     First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim

4.111       Sharp Memorial Hospital                                            Last 4 digits of account number 4543                                          $50.00
        Nonpriority Creditor's Name
                                                                               When was the debt incurred?        07/16/2019
            Sharp Memorial Hospital
                                                                               As of the date you file, the claim is: Check all that apply.
            File # 748424
        Number          Street
                                                                               ❑   Contingent

            Los Angeles, CA 90074-8424
                                                                               ❑   Unliquidated
        City                            State     ZIP Code                     ❑   Disputed
        Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
        ✔
        ❑      Debtor 1 only                                                   ❑   Student loans
        ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
        ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                               ❑
        ❑      At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
        ❑      Check if this claim is for a community debt                     ✔
                                                                               ❑   Other. Specify
        Is the claim subject to offset?                                            Medical Bill
        ✔
        ❑      No
        ❑   Yes
         Remarks: Medical - Mary

4.112       Sharp Memorial Hospital                                            Last 4 digits of account number -901                                      $520.00
        Nonpriority Creditor's Name
                                                                               When was the debt incurred?
            Sharp Memorial Hospital
                                                                               As of the date you file, the claim is: Check all that apply.
            File # 748424
        Number          Street
                                                                               ❑   Contingent

            Los Angeles, CA 90074-8424                                         ❑   Unliquidated
        City                            State     ZIP Code                     ❑   Disputed
        Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
        ✔
        ❑      Debtor 1 only                                                   ❑   Student loans
        ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
        ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

        ❑      At least one of the debtors and another
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
        ❑      Check if this claim is for a community debt                     ✔
                                                                               ❑   Other. Specify
        Is the claim subject to offset?                                            Medical Bill
        ✔
        ❑      No
        ❑   Yes
         Remarks: Medical - Mary




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 Debtor 1            Jack                   F.                     Marshall, Jr                                    Case number (if known)
                     First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim

4.113       Sharp Memorial Hospital                                            Last 4 digits of account number -901                                    $2,728.00
        Nonpriority Creditor's Name
                                                                               When was the debt incurred?        05/01/2021
            Sharp Memorial Hospital
                                                                               As of the date you file, the claim is: Check all that apply.
            File # 748424
        Number          Street
                                                                               ❑   Contingent

            Los Angeles, CA 90074-8424
                                                                               ❑   Unliquidated
        City                            State     ZIP Code                     ❑   Disputed
        Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
        ✔
        ❑      Debtor 1 only                                                   ❑   Student loans
        ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
        ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                               ❑
        ❑      At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
        ❑      Check if this claim is for a community debt                     ✔
                                                                               ❑   Other. Specify
        Is the claim subject to offset?                                            Medical Bill
        ✔
        ❑      No
        ❑   Yes
         Remarks: Medical - Mary Aggregate

4.114       Sharp Rees-Stealy Med Grp                                          Last 4 digits of account number -901                                          $20.00
        Nonpriority Creditor's Name
                                                                               When was the debt incurred?
            Sharp Rees-Stealy Medical Group
                                                                               As of the date you file, the claim is: Check all that apply.
            PO Box 939088
        Number          Street
                                                                               ❑   Contingent

            San Diego, CA 92193-0000                                           ❑   Unliquidated
        City                            State     ZIP Code                     ❑   Disputed
        Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
        ✔
        ❑      Debtor 1 only                                                   ❑   Student loans
        ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
        ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

        ❑      At least one of the debtors and another
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
        ❑      Check if this claim is for a community debt                     ✔
                                                                               ❑   Other. Specify
        Is the claim subject to offset?                                            Medical Bill
        ✔
        ❑      No
        ❑   Yes
         Remarks: Medical - Mary




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 Debtor 1            Jack                   F.                     Marshall, Jr                                    Case number (if known)
                     First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim

4.115       Sharp Rees-Stealy Med Grp                                          Last 4 digits of account number -125                                          $20.00
        Nonpriority Creditor's Name
                                                                               When was the debt incurred?
            Sharp Rees-Stealy Medical Group
                                                                               As of the date you file, the claim is: Check all that apply.
            PO Box 939088
        Number          Street
                                                                               ❑   Contingent

            San Diego, CA 92193-0000                                           ❑   Unliquidated
        City                            State     ZIP Code                     ❑   Disputed
        Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
        ✔
        ❑      Debtor 1 only                                                   ❑   Student loans
        ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
        ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

        ❑      At least one of the debtors and another
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
        ❑      Check if this claim is for a community debt                     ✔
                                                                               ❑   Other. Specify
        Is the claim subject to offset?                                            Medical Bill
        ✔
        ❑      No
        ❑   Yes
         Remarks: Medical - Jack

4.116       Sharp Rees-Stealy Med Grp                                          Last 4 digits of account number -901                                      $162.00
        Nonpriority Creditor's Name
                                                                               When was the debt incurred?        07/01/2020
            Sharp Rees-Stealy Medical Group
                                                                               As of the date you file, the claim is: Check all that apply.
            PO Box 939088
        Number          Street
                                                                               ❑   Contingent

            San Diego, CA 92193-0000
                                                                               ❑   Unliquidated
        City                            State     ZIP Code                     ❑   Disputed
        Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
        ✔
        ❑      Debtor 1 only                                                   ❑   Student loans
        ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
        ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                               ❑
        ❑      At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
        ❑      Check if this claim is for a community debt                     ✔
                                                                               ❑   Other. Specify
        Is the claim subject to offset?                                            Medical Bill
        ✔
        ❑      No
        ❑   Yes
         Remarks: Medical - Mary




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              Case 23-01017-MM7                   Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 77 of 137
 Debtor 1            Jack                   F.                     Marshall, Jr                                    Case number (if known)
                     First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim

4.117       Sharp Rees-Stealy Med Grp                                          Last 4 digits of account number -901                                      $115.00
        Nonpriority Creditor's Name
                                                                               When was the debt incurred?        04/01/2021
            Sharp Rees-Stealy Medical Group
                                                                               As of the date you file, the claim is: Check all that apply.
            PO Box 939088
        Number          Street
                                                                               ❑   Contingent

            San Diego, CA 92193-0000
                                                                               ❑   Unliquidated
        City                            State     ZIP Code                     ❑   Disputed
        Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
        ✔
        ❑      Debtor 1 only                                                   ❑   Student loans
        ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
        ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                               ❑
        ❑      At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
        ❑      Check if this claim is for a community debt                     ✔
                                                                               ❑   Other. Specify
        Is the claim subject to offset?                                            Medical Bill
        ✔
        ❑      No
        ❑   Yes
         Remarks: Medical - Mary Aggregate

4.118       Sharp Rees-Stealy Med Grp                                          Last 4 digits of account number -125                                          $55.00
        Nonpriority Creditor's Name
                                                                               When was the debt incurred?        11/01/2022
            Sharp Rees-Stealy Medical Group
                                                                               As of the date you file, the claim is: Check all that apply.
            PO Box 939088
        Number          Street
                                                                               ❑   Contingent

            San Diego, CA 92193-0000
                                                                               ❑   Unliquidated
        City                            State     ZIP Code                     ❑   Disputed
        Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
        ✔
        ❑      Debtor 1 only                                                   ❑   Student loans
        ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
        ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                               ❑
        ❑      At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
        ❑      Check if this claim is for a community debt                     ✔
                                                                               ❑   Other. Specify
        Is the claim subject to offset?                                            Medical Bill
        ✔
        ❑      No
        ❑   Yes
         Remarks: Medical - Jack




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 78 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.119       Sharp Rees-Stealy Med Grp                                           Last 4 digits of account number -901                                      $115.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            Sharp Rees-Stealy Medical Group
                                                                                As of the date you file, the claim is: Check all that apply.
            PO Box 939088
         Number          Street
                                                                                ❑   Contingent

            San Diego, CA 92193-0000                                            ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

         ❑      At least one of the debtors and another
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Mary

4.120       Sharp Rees-Stealy Med Grp                                           Last 4 digits of account number -901                                      $585.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            Sharp Rees-Stealy Medical Group
                                                                                As of the date you file, the claim is: Check all that apply.
            PO Box 939088
         Number          Street
                                                                                ❑   Contingent

            San Diego, CA 92193-0000                                            ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

         ❑      At least one of the debtors and another
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Mary Aggregate




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 79 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.121       Sharp Rees-Stealy Med Grp                                           Last 4 digits of account number -125                                      $795.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            Sharp Rees-Stealy Medical Group
                                                                                As of the date you file, the claim is: Check all that apply.
            PO Box 939088
         Number          Street
                                                                                ❑   Contingent

            San Diego, CA 92193-0000                                            ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

         ❑      At least one of the debtors and another
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Jack

4.122       Sharp-Rees-Stealy Medical Group                                     Last 4 digits of account number -901                                          $95.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        01/01/2019
            Sharp-Rees-Stealy Medical Group
                                                                                As of the date you file, the claim is: Check all that apply.
            Po Box 939088
         Number          Street
                                                                                ❑   Contingent

            San Diego, CA 92193-9088
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Mary




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                       Doc 1        Pg. 80 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.123       Sharp-Rees-Stealy Medical Group                                     Last 4 digits of account number -901                                      $202.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        01/01/2021
            Sharp-Rees-Stealy Medical Group
                                                                                As of the date you file, the claim is: Check all that apply.
            Po Box 939088
         Number          Street
                                                                                ❑   Contingent

            San Diego, CA 92193-9088
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Mary Aggregate

4.124       Sharp-Rees-Stealy Medical Group                                     Last 4 digits of account number -125                                          $30.00
         Nonpriority Creditor's Name
                                                                                                                   09/2021
            Sharp-Rees-Stealy Medical Group                                                                        and
                                                                                When was the debt incurred?        03/2021
            Po Box 939088
         Number          Street                                                 As of the date you file, the claim is: Check all that apply.
            San Diego, CA 92193-9088                                            ❑   Contingent
         City                            State     ZIP Code
                                                                                ❑   Unliquidated
                                                                                ❑
         Who incurred the debt? Check one.
         ✔
         ❑      Debtor 1 only
                                                                                    Disputed
                                                                                Type of NONPRIORITY unsecured claim:
         ❑
                                                                                ❑
                Debtor 2 only
                                                                                    Student loans
         ❑      Debtor 1 and Debtor 2 only
                                                                                ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
         ❑      Check if this claim is for a community debt                     ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         Is the claim subject to offset?
                                                                                ✔
                                                                                ❑
         ✔
         ❑      No
                                                                                    Other. Specify
                                                                                    Medical Bill
         ❑     Yes
            Remarks: Medical - Jack




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 81 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.125       Sleep Data                                                          Last 4 digits of account number 4855                                          $56.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            Sleep Date
                                                                                As of the date you file, the claim is: Check all that apply.
            5471 Kearny Villa Rd. 200
         Number          Street
                                                                                ❑   Contingent

            San Diego, CA 92123-1105                                            ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims

         ❑      At least one of the debtors and another
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Jack

4.126       State Comp Ins Fund                                                 Last 4 digits of account number 4-22                                    $1,970.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        2022
            5880 Owens Dr
                                                                                As of the date you file, the claim is: Check all that apply.
         Number          Street
            Pleasanton, CA 94588
                                                                                ❑   Contingent
         City                            State     ZIP Code                     ❑   Unliquidated
         Who incurred the debt? Check one.                                      ❑   Disputed
         ✔
         ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

         ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
                Check if this claim is for a community debt                         similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑   Other. Specify
         ✔
         ❑      No                                                                  Workers Comp Ins Claim
         ❑     Yes
            Remarks: Notice Only




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 82 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.127       Stephanie E. Vaughn                                                                                                                         unknown
                                                                                Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            9934 Halberns Blvd
         Number          Street                                                 As of the date you file, the claim is: Check all that apply.
            Santee, CA 92071-1438
                                                                                ✔
                                                                                ❑   Contingent
         City                            State     ZIP Code                     ✔
                                                                                ❑   Unliquidated
         Who incurred the debt? Check one.                                      ✔
                                                                                ❑   Disputed
         ✔
         ❑      Debtor 1 only
                                                                                Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
         ❑      Check if this claim is for a community debt
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑
         ✔
         ❑      No
                                                                                    Other. Specify
                                                                                    Notice only - potential derivative claim through
         ❑      Yes                                                                 Superior Pools

4.128       SuperCare Health                                                    Last 4 digits of account number 6992                                          $28.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        12/15/2018
            SuperCare Health
                                                                                As of the date you file, the claim is: Check all that apply.
            PO Box Box 844163
         Number          Street
                                                                                ❑   Contingent

            Los Angeles, CA 90084-4463
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑      Yes




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 83 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.129       SuperCare Health                                                    Last 4 digits of account number 6992                                          $28.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        12/01/2018
            SuperCare Health
                                                                                As of the date you file, the claim is: Check all that apply.
            PO Box Box 844163
         Number          Street
                                                                                ❑   Contingent

            Los Angeles, CA 90084-4463
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Mary

4.130       SuperCare Health                                                    Last 4 digits of account number 6992                                      $158.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        10/01/2021
            SuperCare Health
                                                                                As of the date you file, the claim is: Check all that apply.
            PO Box Box 844163
         Number          Street
                                                                                ❑   Contingent

            Los Angeles, CA 90084-4463
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Mary




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              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 84 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.131       Superior Creations, Inc.                                                                                                                    unknown
                                                                                Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            c/o Jack R. Lieb, Esq
                                                                                As of the date you file, the claim is: Check all that apply.
                                                                                ❑
            4950 Waring Rd Ste 11
         Number          Street                                                     Contingent

            San Diego, CA 92120-2736                                            ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ✔
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
         ❑      At least one of the debtors and another
                                                                                ❑   Debts to pension or profit-sharing plans, and other
         ✔
         ❑                                                                      ✔
                                                                                    similar debts
                Check if this claim is for a community debt                     ❑   Other. Specify
         Is the claim subject to offset?                                            Notice only
         ✔
         ❑      No
         ❑      Yes

4.132       Sycamore Landfill                                                                                                                           unknown
                                                                                Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            8514 Mast Blvd
         Number          Street                                                 As of the date you file, the claim is: Check all that apply.
            Santee, CA 92071-2300                                               ❑   Contingent
         City                            State     ZIP Code                     ❑   Unliquidated
         Who incurred the debt? Check one.                                      ❑   Disputed
         ❑      Debtor 1 only
                                                                                Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ✔
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
         ✔
         ❑      Check if this claim is for a community debt
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑
         ✔
         ❑      No
                                                                                    Other. Specify
                                                                                    Potential derivative claim
         ❑      Yes




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 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.133       Szabo Media Collections                                             Last 4 digits of account number 7-01                                   $12,808.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            3355 Lenox Road 945
         Number          Street                                                 As of the date you file, the claim is: Check all that apply.

            Atlanta, GA 30326-1332                                              ❑   Contingent
         City                            State     ZIP Code                     ❑   Unliquidated
         Who incurred the debt? Check one.                                      ❑   Disputed
         ✔
         ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
         ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
                Check if this claim is for a community debt
                                                                                    similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑   Other. Specify
         ✔
         ❑      No                                                                  Potential derivative claim through Superior Pools
         ❑     Yes
            Remarks: Collection Agency for Yelp

4.134       The Civil Attorneys Group                                                                                                                   unknown
                                                                                Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            S. David Kozich
                                                                                As of the date you file, the claim is: Check all that apply.
                                                                                ❑
            17821 17th Street 100
         Number          Street                                                     Contingent

            Tustin, CA 92780                                                    ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
         ❑      At least one of the debtors and another
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?
         ✔
         ❑      No
         ❑     Yes
            Remarks: Notice Only




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                        page 59 of 65
              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 86 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.135       The Contractors State License Board                                 Last 4 digits of account number 7111                                 $174,000.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        04/01/2022
            PO Box Box 26000
                                                                                As of the date you file, the claim is: Check all that apply.
         Number          Street
            Sacramento, CA 95826
                                                                                ❑   Contingent
         City                            State     ZIP Code                     ❑   Unliquidated
         Who incurred the debt? Check one.                                      ❑   Disputed
         ✔
         ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

         ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
                Check if this claim is for a community debt                         similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑   Other. Specify
         ✔
         ❑      No
         ❑     Yes
            Remarks: Re: Michael and Leanne Pusateri Notice Only

4.136       The North River Insurance Company                                   Last 4 digits of account number 3711                                    unknown
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        01/01/2022
            Kenda Wannemaker, Esq.
                                                                                As of the date you file, the claim is: Check all that apply.
            305 Madison Ave.
         Number          Street
                                                                                ❑   Contingent

            Morristown, NJ 07960
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?
         ✔
         ❑      No
         ❑     Yes
            Remarks: Notice Only




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                        page 60 of 65
              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 87 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.137       Transworld Systems Inc                                              Last 4 digits of account number 5940                                          $67.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        2022
            500 Virginia Dr 514
                                                                                As of the date you file, the claim is: Check all that apply.
         Number          Street
            Fort Washington, PA 19034
                                                                                ❑   Contingent
         City                            State     ZIP Code                     ❑   Unliquidated
         Who incurred the debt? Check one.                                      ❑   Disputed
         ✔
         ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

         ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
                Check if this claim is for a community debt                         similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑   Other. Specify
         ✔
         ❑      No                                                                  Collection Agency
         ❑      Yes
            Remarks: Notice Only Collections - US Dept of Veterans
            Affairs

4.138       UC San Diego Health                                                 Last 4 digits of account number 6727                                          $35.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        04/01/2020
            Regents of the University of California
                                                                                As of the date you file, the claim is: Check all that apply.
            PO Box Box 748607
         Number          Street
                                                                                ❑   Contingent

            Los Angeles, CA 90074-8607
                                                                                ❑   Unliquidated
         City                            State     ZIP Code                     ❑   Disputed
         Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
         ✔
         ❑      Debtor 1 only                                                   ❑   Student loans
         ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
         ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                                ❑
         ❑      At least one of the debtors and another
                                                                                    Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         ❑      Check if this claim is for a community debt                     ✔
                                                                                ❑   Other. Specify
         Is the claim subject to offset?                                            Medical Bill
         ✔
         ❑      No
         ❑     Yes
            Remarks: Medical - Jack




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                        page 61 of 65
              Case 23-01017-MM7                    Filed 04/14/23            Entered 04/14/23 19:28:25                      Doc 1         Pg. 88 of 137
 Debtor 1             Jack                   F.                     Marshall, Jr                                    Case number (if known)
                      First Name             Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim

4.139       Whitney Oaks Insurance Services, Inc.                               Last 4 digits of account number 2807                                   $15,858.00
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?        2022
            1221 Pleasant Grove Blvd.
                                                                                As of the date you file, the claim is: Check all that apply.
         Number           Street
            Roseville, CA 95678
                                                                                ❑   Contingent
         City                            State     ZIP Code                     ❑   Unliquidated
         Who incurred the debt? Check one.                                      ❑   Disputed
         ✔
         ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

         ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
                Check if this claim is for a community debt                         similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑   Other. Specify
         ✔
         ❑      No                                                                  Insurance
         ❑      Yes

4.140       William Cox                                                                                                                                 unknown
                                                                                Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                When was the debt incurred?
            3931 Monserate Terr
         Number           Street                                                As of the date you file, the claim is: Check all that apply.
            Fallbrook, CA 92028-9495
                                                                                ✔
                                                                                ❑   Contingent
         City                            State     ZIP Code                     ✔
                                                                                ❑   Unliquidated
         Who incurred the debt? Check one.                                      ✔
                                                                                ❑   Disputed
         ✔
         ❑      Debtor 1 only
                                                                                Type of NONPRIORITY unsecured claim:
         ❑      Debtor 2 only                                                   ❑   Student loans
         ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
         ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
         ❑      Check if this claim is for a community debt
                                                                                ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
         Is the claim subject to offset?                                        ✔
                                                                                ❑
         ✔
         ❑      No
                                                                                    Other. Specify
                                                                                    Notice only - potential derivative claim through
         ❑      Yes                                                                 Superior Pools




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                        page 62 of 65
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 Debtor 1           Jack                 F.                         Marshall, Jr                                  Case number (if known)
                    First Name           Middle Name                Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you
     do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Avi Faskowitz, Esq                                            On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                      Line 4.66 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        6143 186th St # 207
       Number          Street                                                                     ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Fresh Meadows, NY 11365-2710
       City                                   State      ZIP Code     Last 4 digits of account number

        Carl M. Lewis                                                 On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                      Line 4.64 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        Carl M. Lewis, Esq.
        1916 Third Avenue
                                                                                                  ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number          Street
                                                                      Last 4 digits of account number
        San Diego, CA 92101
       City                                   State      ZIP Code


        Flaherty, Esq, Douglas P.                                     On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                      Line 4.97 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        402 W Broadway Ste 960
       Number          Street                                                                     ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        San Diego, CA 92101-8545
       City                                   State      ZIP Code     Last 4 digits of account number

        Franchise Tax Board                                           On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                      Line   2.1                   ✔ Part 1: Creditors with Priority Unsecured Claims
                                                                                   of (Check one): ❑
                                                                                                  ❑
        PO Box 419001
        DMV Collections                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
       Number          Street
                                                                      Last 4 digits of account number
        Rancho Cordova, CA 95741-9001
       City                                   State      ZIP Code


        Internal Revenue Service                                      On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                      Line   2.2                   ✔ Part 1: Creditors with Priority Unsecured Claims
                                                                                   of (Check one): ❑
                                                                                                  ❑
        333 W Broadway
        Insolvency Group 7 M/S 2277                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
       Number          Street
                                                                      Last 4 digits of account number
        San Diego, CA 92101-3805
       City                                   State      ZIP Code


        IPFS Corporation of California                                On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                      Line 4.139 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        Po Box 412806
       Number          Street                                                                     ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Kansas City, MO 64141
       City                                   State      ZIP Code     Last 4 digits of account number

        Rauch Milliken International                                  On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                      Line 4.18 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        Attn: Marvin Brown
        4400 Trenton St
                                                                                                  ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number          Street
                                                                      Last 4 digits of account number
        Metairie, LA 70006-6550
       City                                   State      ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 63 of 65
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 Debtor 1          Jack              F.                         Marshall, Jr                                  Case number (if known)
                   First Name        Middle Name                Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed Additional Page

        Schreiber, Esq, Jeffrey D.                                On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                  Line 4.17 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        4275 Executive Sq Ste 200
       Number          Street                                                                 ✔
                                                                                              ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        La Jolla, CA 92037-1476
       City                               State      ZIP Code     Last 4 digits of account number

        The Faskowitz Law Firm, PLLC                              On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                  Line 4.43 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        Avi Faskowitz, Esq.
        61-43 186 Street 207
                                                                                              ✔
                                                                                              ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number          Street
                                                                  Last 4 digits of account number
        Fresh Meadows, NY 11365
       City                               State      ZIP Code


        Tomlin, Esq, Timothy J.                                   On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                  Line 4.136 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        68 Mitchell Blvd Ste 135
       Number          Street                                                                 ✔
                                                                                              ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        San Rafael, CA 94903-2046
       City                               State      ZIP Code     Last 4 digits of account number

        Turnbow, Esq, C. William                                  On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                  Line 4.30 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        750 B. Street # 2620
       Number          Street                                                                 ✔
                                                                                              ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        San Diego, CA 92101
       City                               State      ZIP Code     Last 4 digits of account number




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                         page 64 of 65
            Case 23-01017-MM7                    Filed 04/14/23          Entered 04/14/23 19:28:25                Doc 1       Pg. 91 of 137
 Debtor 1          Jack                   F.                    Marshall, Jr                               Case number (if known)
                   First Name             Middle Name           Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts
     for each type of unsecured claim.




                                                                                         Total claim


                   6a. Domestic support obligations                            6a.                            $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the               6b.                       $34,000.00
                       government

                   6c. Claims for death or personal injury while you           6c.                            $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.         6d.   +                        $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                         6e.                        $34,000.00




                                                                                         Total claim


                   6f. Student loans                                           6f.                            $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                 6g.                            $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and           6h.                            $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured              6i.   +                 $1,194,743.00
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                         6j.                     $1,194,743.00




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                    page 65 of 65
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 Fill in this information to identify your case:

     Debtor 1                       Jack                 F.                   Marshall, Jr
                                    First Name           Middle Name         Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name         Last Name

     United States Bankruptcy Court for the:                           Southern District of California

     Case number                                                                                                                             ❑   Check if this is an
     (if known)                                                                                                                                  amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                                  State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 1
               Case 23-01017-MM7                      Filed 04/14/23              Entered 04/14/23 19:28:25             Doc 1        Pg. 93 of 137


 Fill in this information to identify your case:

  Debtor 1                   Jack                    F.                   Marshall, Jr
                            First Name              Middle Name           Last Name

  Debtor 2
  (Spouse, if filing)       First Name              Middle Name           Last Name

  United States Bankruptcy Court for the:                         Southern District of California

  Case number                                                                                                                       ❑    Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                     12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
        Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
          ❑ No
          ✔ Yes. In which community state or territory did you live? California
          ❑                                                                                               . Fill in the name and current address of that person.
                 Marshall, Mary G.
                Name of your spouse, former spouse, or legal equivalent
                 1285 E. Washington Ave. Spc 6
                Number       Street
                 El Cajon, CA 92019-3044
                City                               State    ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
        again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.




Official Form 106H                                                           Schedule H: Your Codebtors                                                   Page 1 of 2
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 Debtor 1            Jack                 F.               Marshall, Jr                             Case number (if known)
                     First Name           Middle Name      Last Name


      Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
3.1
      Marshall, Mary G.                                                                      ❑ Schedule D, line
      Name                                                                                                        4.1, 4.2, 4.3,
      1285 E. Washington Ave. Spc 6                                                                               4.4, 4.5, 4.7,
      Number     Street                                                                                           4.9, 4.12, 4.13,
      El Cajon, CA 92019-3044                                                                                     4.14, 4.17,
      City                        State        ZIP Code                                                           4.18, 4.19,
                                                                                                                  4.21, 4.22,
                                                                                                                  4.25, 4.26,
                                                                                                                  4.29, 4.32,
                                                                                                                  4.33, 4.37,
                                                                                                                  4.39, 4.40,
                                                                                                                  4.41, 4.42,
                                                                                                                  4.60, 4.67,
                                                                                                                  4.69, 4.70,
                                                                                                                  4.72, 4.73,
                                                                                                                  4.74, 4.75,
                                                                                                                  4.76, 4.77,
                                                                                                                  4.78, 4.95,
                                                                                                                  4.96, 4.97,
                                                                                                                  4.98, 4.102,
                                                                                                                  4.105, 4.131,
                                                                                             ✔ Schedule E/F, line 4.132
                                                                                             ❑
                                                                                             ❑ Schedule G, line




Official Form 106H                                             Schedule H: Your Codebtors                                               Page 2 of 2
               Case 23-01017-MM7                     Filed 04/14/23             Entered 04/14/23 19:28:25                    Doc 1         Pg. 95 of 137

 Fill in this information to identify your case:

  Debtor 1                  Jack                   F.                   Marshall, Jr
                           First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name         Last Name                                             Check if this is:

  United States Bankruptcy Court for the:                        Southern District of California                             ❑ An amended filing
                                                                                                                             ❑ A supplement showing postpetition
  Case number                                                                                                                   chapter 13 income as of the following date:
  (if known)

                                                                                                                                MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                         Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status                         ✔ Not Employed
                                                                            ❑ Employed ❑                                                 ✔ Not Employed
                                                                                                                              ❑ Employed ❑
     attach a separate page with
     information about additional            Occupation
     employers.
                                             Employer's name
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address
     Occupation may include student                                          Number Street                                     Number Street
     or homemaker, if it applies.




                                                                             City                     State   Zip Code         City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1   For Debtor 2 or
                                                                                                                         non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.                 $0.00                     $0.00

 3. Estimate and list monthly overtime pay.                                                  3.   +             $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.                 $0.00                     $0.00




Official Form 106I                                                           Schedule I: Your Income                                                              page 1
               Case 23-01017-MM7                                 Filed 04/14/23                     Entered 04/14/23 19:28:25                 Doc 1      Pg. 96 of 137

 Debtor 1                 Jack                         F.                              Marshall, Jr                                  Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.                $0.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.               $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.               $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h.   +           $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.                $0.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.                $0.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.           $1,327.00                $1,551.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.            $1,327.00                $1,551.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.           $1,327.00    +           $1,551.00         =          $2,878.00

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.             $2,878.00

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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 Fill in this information to identify your case:

  Debtor 1                  Jack                    F.                   Marshall, Jr
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Southern District of California
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Wife                                72                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                    $1,308.00


     If not included in line 4:
                                                                                                                              4a.                          $37.00
     4a. Real estate taxes
                                                                                                                              4b.                          $67.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                              4c.                          $50.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                        $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1             Jack                  F.                    Marshall, Jr                               Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                       $0.00

       6b. Water, sewer, garbage collection                                                                        6b.                       $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                   $390.00

       6d. Other. Specify:                                                                                         6d.                       $0.00

 7.    Food and housekeeping supplies                                                                              7.                    $720.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                        $0.00

 10. Personal care products and services                                                                           10.                   $120.00

 11.   Medical and dental expenses                                                                                 11.                   $400.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                   $245.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                       $0.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                      $0.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                      $0.00

       15c. Vehicle insurance                                                                                      15c.                  $600.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                  $450.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                      $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                      $0.00
       17c. Other. Specify:
                                                                                                                   17d.                      $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
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 Debtor 1            Jack                F.                    Marshall, Jr                                 Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                              21.     +               $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                $4,387.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                $4,387.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                $2,878.00

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –           $4,387.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.               ($1,509.00)
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                 page 3
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 Fill in this information to identify your case:

  Debtor 1                  Jack                   F.                   Marshall, Jr
                            First Name             Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name         Last Name

  United States Bankruptcy Court for the:                        Southern District of California

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                                 . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                           Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Jack F. Marshall, Jr
        Jack F. Marshall, Jr, Debtor 1


        Date 04/14/2023
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                  Case 23-01017-MM7                     Filed 04/14/23             Entered 04/14/23 19:28:25               Doc 1         Pg. 101 of
                                                                                    137
 Fill in this information to identify your case:

  Debtor 1                  Jack                   F.                   Marshall, Jr
                           First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                        Southern District of California

  Case number                                                                                                                        ❑   Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived       Debtor 2:                                         Dates Debtor 2 lived
                                                             there                                                                        there


                                                                                       ❑ Same as Debtor 1                                ❑ Same as Debtor 1
                                                           From                                                                          From
    Number       Street                                                                  Number     Street
                                                           To                                                                            To



    City                            State ZIP Code                                       City                       State ZIP Code



                                                                                       ❑ Same as Debtor 1                                ❑ Same as Debtor 1
                                                           From                                                                          From
    Number       Street                                                                  Number     Street
                                                           To                                                                            To



    City                            State ZIP Code                                       City                       State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
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 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                               ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
    From January 1 of current year until the                                               $0.00
    date you filed for bankruptcy:                 bonuses, tips                                           bonuses, tips
                                               ✔ Operating a business
                                               ❑                                           $0.00       ❑ Operating a business

    For last calendar year:                    ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                   bonuses, tips                           $0.00           bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY        ✔ Operating a business
                                               ❑                                       $1,300.00       ❑ Operating a business

    For the calendar year before that:         ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                   bonuses, tips                      $72,750.00           bonuses, tips
    (January 1 to December 31, 2021       )
                                   YYYY        ✔ Operating a business
                                               ❑                                    $143,704.00        ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the    Social Security                         $3,981.00       Social Security                         $4,653.00
    date you filed for bankruptcy:




    For last calendar year:                     Social Security                        $18,570.00       Social Security                       $20,653.00
    (January 1 to December 31, 2022       )     Gambling winnings                       $2,800.00
                                   YYYY
                                                Dividend income                         $3,100.00


    For the calendar year before that:          Social Security                        $15,982.00       Social Security                       $19,255.00
    (January 1 to December 31, 2021       )     IRA Distribution                        $3,143.00
                                   YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
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                                                                                         137
Debtor 1             Jack                         F.                     Marshall, Jr                                  Case number (if known)
                     First Name                   Middle Name            Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ✔ No. Go to line 7.
              ❑
              ❑ Yes.         List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                             paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                             not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                             include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                             an attorney for this bankruptcy case.

                                                                    Dates of            Total amount paid       Amount you still owe       Was this payment for…
                                                                    payment

                                                                                                                                          ❑ Mortgage
             Creditor's Name                                                                                                              ❑ Car
                                                                                                                                          ❑ Credit card
             Number         Street                                                                                                        ❑ Loan repayment
                                                                                                                                          ❑ Suppliers or vendors
                                                                                                                                          ❑ Other
             City                         State        ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                  Dates of           Total amount paid   Amount you still         Reason for this payment
                                                                  payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1             Jack                  F.                     Marshall, Jr                                     Case number (if known)
                     First Name            Middle Name             Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of              Total amount paid   Amount you still           Reason for this payment
                                                          payment                                   owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                       Court or agency                                  Status of the case


                                                                                                                                             ✔ Pending
                                                     Breach of contract against Superior
    Case title        Ahmari et al, vs. Superior
                      Creations, Inc., et al         Creations, Inc.                         San Diego Superior Court                        ❑
                                                                                                                                             ❑ On appeal
                                                                                             Court Name
                                                                                             330 West Broadway
                2022-XX-XXXXXXX-
    Case number CU-BC-CTL
                                                                                                                                             ❑ Concluded
                                                                                             Central Division
                                                                                             Number       Street
                                                                                             San Diego, CA 92101-0000
                                                                                             City                      State     ZIP Code



                                                                                                                                             ✔ Pending
                                                     Breach of contract claim
    Case title        HItchcock v. Superior
                      Creations, Inc., et al
                                                                                             San Diego Superior Court                        ❑
                                                                                                                                             ❑ On appeal
                                                                                             Court Name
                                                                                             330 West Broadway
                37-2022-0017757-
    Case number CU-BC-CTL
                                                                                                                                             ❑ Concluded
                                                                                             Central Division
                                                                                             Number       Street
                                                                                             San Diego, CA 92101-0000
                                                                                             City                      State     ZIP Code



                                                                                                                                             ✔ Pending
                                                     Breach of contract / interpleader
    Case title        North River Ins. Co. v.
                      Superior Creations, Inc.,      action                                  San Diego Superior Court                        ❑
                                                                                                                                             ❑ On appeal
                                                                                             Court Name
                      et al
                                                                                             330 West Broadway
                37-2022-0051252-
                                                                                                                                             ❑ Concluded
                                                                                             Central Division
    Case number CL-MC-CTL                                                                    Number       Street
                                                                                             San Diego, CA 92101-0000
                                                                                             City                      State     ZIP Code




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Debtor 1            Jack                   F.                       Marshall, Jr                                   Case number (if known)
                    First Name             Middle Name              Last Name

                                                       Nature of the case                     Court or agency                               Status of the case

                                                       Breach of contract
    Case title        Libertas Funding, LLC                                                  Supreme Court of New York - Kings           ❑ Pending
    Case number 536247/2922
                                                                                             County
                                                                                             Court Name                                  ❑ On appeal
                                                                                                                                         ✔ Concluded
                                                                                                                                         ❑
                                                                                             Number       Street


                                                                                             City                    State   ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                     Describe the property                               Date                Value of the property



    Creditor’s Name


    Number       Street                                              Explain what happened

                                                                    ❑ Property was repossessed.
                                                                    ❑ Property was foreclosed.
                                                                    ❑ Property was garnished.
    City                           State    ZIP Code
                                                                    ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                             Describe the action the creditor took                     Date action was      Amount
                                                                                                                       taken
    Creditor’s Name


    Number       Street



    City                          State    ZIP Code
                                                            Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
               Case 23-01017-MM7                          Filed 04/14/23          Entered 04/14/23 19:28:25                Doc 1         Pg. 106 of
                                                                                   137
Debtor 1             Jack                   F.                     Marshall, Jr                                 Case number (if known)
                     First Name             Middle Name            Last Name
 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600             Describe the gifts                                      Dates you gave       Value
     per person                                                                                                     the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State    ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities           Describe what you contributed                               Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
     Describe the property you lost and Describe any insurance coverage for the loss                  Date of your loss              Value of property lost
     how the loss occurred               Include the amount that insurance has paid. List pending
                                         insurance claims on line 33 of Schedule A/B: Property.
    2016 Jeep stolen and recovered.     Insurance paid $10,700 for repairs that were made to the Jeep
                                                                                                      9/2022                                     $17,000.00




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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                                                                               137
Debtor 1            Jack                F.                     Marshall, Jr                                 Case number (if known)
                    First Name          Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred            Date payment or        Amount of payment
    Law Office of Thomas Gorrill                                                                           transfer was made
    Person Who Was Paid                       Attorney's Fee
                                                                                                           03/06/2023                       $3,500.00
    401 West A Street #1770
    Number     Street




    San Diego, CA 92101
    City                   State   ZIP Code
    tom@gorillalaw.com
    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7
               Case 23-01017-MM7                       Filed 04/14/23        Entered 04/14/23 19:28:25                  Doc 1         Pg. 108 of
                                                                              137
Debtor 1            Jack                 F.                   Marshall, Jr                                   Case number (if known)
                    First Name           Middle Name          Last Name

                                               Description and value of property         Describe any property or payments               Date transfer was
                                               transferred                               received or debts paid in exchange              made

    Person Who Received Transfer


    Number      Street




    City                   State    ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                         Date transfer was
                                                                                                                                         made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                      instrument               closed, sold, moved, or    before closing or
                                                                                                               transferred                transfer

    Name of Financial Institution
                                                XXXX–                               ❑ Checking
                                                                                    ❑ Savings
                                                                                    ❑ Money market
    Number      Street


                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑



Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
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Debtor 1            Jack                 F.                    Marshall, Jr                                  Case number (if known)
                    First Name           Middle Name           Last Name

                                                 Who else had access to it?                  Describe the contents                        Do you still have
                                                                                                                                          it?
                                                                                            Important legal papers - no cash, bonds or
    Wells Fargo                                  Marshall, Mary G.                          securities                                   ❑ No
    Name of Financial Institution               Name
                                                                                                                                         ✔ Yes
                                                                                                                                         ❑
                                                 1285 E. Washington Ave. Spc 6
    Number      Street                          Number     Street


                                                 El Cajon, CA 92019-3044
                                                City                  State    ZIP Code


    City                    State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else has or had access to it?           Describe the contents                        Do you still have
                                                                                                                                          it?

                                                                                                                                         ❑ No
    Name of Storage Facility                    Name
                                                                                                                                         ❑ Yes

    Number      Street                          Number     Street



                                                City                 State    ZIP Code

    City                   State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Where is the property?                      Describe the property                        Value


    Owner's Name
                                                Number     Street


    Number      Street

                                                City                 State    ZIP Code


    City                   State    ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 9
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                                                                                 137
Debtor 1            Jack                F.                     Marshall, Jr                                    Case number (if known)
                    First Name          Middle Name            Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                        Environmental law, if you know it                   Date of notice


    Name of site                              Governmental unit



    Number     Street                         Number      Street


                                              City                 State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                        Environmental law, if you know it                   Date of notice


    Name of site                              Governmental unit



    Number     Street                         Number      Street


                                              City                 State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 10
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                                                                                      137
Debtor 1            Jack                  F.                        Marshall, Jr                                     Case number (if known)
                    First Name            Middle Name               Last Name

                                                   Court or agency                          Nature of the case                                    Status of the case


    Case title
                                                  Court Name
                                                                                                                                                  ❑ Pending
                                                                                                                                                  ❑ On appeal
                                                                                                                                                  ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ✔ An owner of at least 5% of the voting or equity securities of a corporation
           ❑
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
     Superior Creations, Inc.                                                                                Do not include Social Security number or ITIN.
    Name
                                                   Swimming pool contractor
                                                                                                              EIN:    3    3 – 0   4   6      7   0   6   9

    Number        Street
                                                    Name of accountant or bookkeeper                         Dates business existed

                                                                                                              From 1/5/1990         To 12/31/2022
     Santee, CA 92071
    City                    State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                    Date issued



    Name                                           MM / DD / YYYY



    Number        Street




    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 11
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                                                                            137
 Debtor 1           Jack                 F.                    Marshall, Jr                                 Case number (if known)
                    First Name           Middle Name           Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Jack F. Marshall, Jr
        Signature of Jack F. Marshall, Jr, Debtor 1


        Date 04/14/2023




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                   Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 12
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                                                                                     137

 Fill in this information to identify your case:

  Debtor 1                  Jack                   F.                   Marshall, Jr
                           First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                        Southern District of California

  Case number                                                                                                                       ❑   Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                 12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral               What do you intend to do with the property that secures Did you claim the property as
                                                                             a debt?                                                 exempt on Schedule C?

    Creditor’s                                                              ❑ Surrender the property.                                 ✔ No
                                                                                                                                      ❑
    name:               Capital One Auto Finance
                                                                            ❑ Retain the property and redeem it.                      ❑ Yes
    Description of
    property
                        2018 Suburu Crosstrek 2.0i Limited
                                                                            ❑ Retain the property and enter into a
    securing debt:                                                                 Reaffirmation Agreement.
                                                                            ✔ Retain the property and [explain]:
                                                                            ❑
                                                                                   Continue making payments to secured creditor




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
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                                                                            137

 Debtor 1            Jack               F.                     Marshall, Jr                                 Case number (if known)
                     First Name         Middle Name            Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                         Will the lease be assumed?
    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Jack F. Marshall, Jr
      Signature of Debtor 1


      Date 04/14/2023
            MM/ DD/ YYYY




Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                                          page 2
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                              Southern District of California

In re        Marshall Jr, Jack F.

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $3,500.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $3,500.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

        Representation of the debtors in any adversary proceedings, judicial lien avoidance, relief from stay, Rule 2004 examinations, or any
        other motions or contested matters.




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                                                                  137

B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        04/14/2023                                             /s/ Thomas B. Gorrill
                Date                                         Thomas B. Gorrill
                                                             Signature of Attorney
                                                                                             Bar Number: #102979
                                                                                       Law Office of Thomas Gorrill
                                                                                          401 West A Street #1770
                                                                                             San Diego, CA 92101
                                                                                            Phone: (619) 851-8898
                                                                                               Fax: (619) 330-2125

                                                                         Law Office of Thomas Gorrill
                                                            Name of law firm




                                                                 Page 2 of 2
                  Case 23-01017-MM7                        Filed 04/14/23             Entered 04/14/23 19:28:25            Doc 1        Pg. 117 of
 Fill in this information to identify your case:                                       137
  Debtor 1                     Jack                   F.                   Marshall, Jr
                               First Name             Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)          First Name             Middle Name         Last Name

  United States Bankruptcy Court for the:                           Southern District of California


                                                                                                                    ❑ Check if this is an amended filing
  Case number
  (if known)



Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                             12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are exempted from a
presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the exclusions in this statement applies
to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).



 Part 1: Identify the Kind of Debts You Have

        1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal,
           family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition (Official Form
           101).
           ✔ No.
           ❑            Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                        this supplement with the signed Form 122A-1.
           ❑ Yes.       Go to Part 2.


 Part 2: Determine Whether Military Service Provisions Apply to You

        2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           ❑ No. Go to line 3.
           ❑ Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                        10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                        ❑ No. Go to line 3.
                        ❑ Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part
                                  3. Then submit this supplement with the signed Form 122A-1.


        3. Are you or have you been a Reservist or member of the National Guard?
           ❑ No. Complete Form 122A-1. Do not submit this supplement.
           ❑ Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
             ❑ No. Complete Form 122A-1. Do not submit this supplement.
             ❑ Yes. Check any one of the following categories that applies:
                ❑ I was called to active duty after September 11, 2001, for at least 90 days          If you checked one of the categories to the left, go to
                         and remain on active duty.                                                        Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                                           check box 3, The Means Test does not apply now, and
                   ❑ I was called to active duty after September 11, 2001, for at least 90 days            sign Part 3. Then submit this supplement with the signed
                                                                                                           Form 122A-1. You are not required to fill out the rest of
                         and was released from active duty on                         , which is fewer
                                                                                                           Official Form 122A-1 during the exclusion period. The
                         than 540 days before I file this bankruptcy case.
                                                                                                           exclusion period means the time you are on active duty or
                   ❑ I am performing a homeland defense activity for at least 90 days.                     are performing a homeland defense activity, and for 540
                                                                                                           days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                   ❑ I performed a homeland defense activity for at least 90 days, ending on
                                            , which is fewer than 540 days before I file this              If your exclusion period ends before your case is closed,
                         bankruptcy case.                                                                  you may have to file an amended form later




 Official Form 122A-1Supp                      Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                              page 1
                  Case 23-01017-MM7                     Filed 04/14/23               Entered 04/14/23 19:28:25 Doc 1 Pg. 118 of
 Fill in this information to identify your case:                                      137                Check one box only as directed in this form and in
                                                                                                                Form 122A-1Supp:
  Debtor 1                  Jack                   F.                    Marshall, Jr
                                                                                                                ✔ 1. There is no presumption of abuse.
                                                                                                                ❑
                           First Name              Middle Name           Last Name

  Debtor 2
                                                                                                                ❑ 2. The calculation to determine if a presumption
  (Spouse, if filing)
                                                                                                                   of abuse applies will be made under Chapter 7
                           First Name              Middle Name           Last Name
                                                                                                                   Means Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Southern District of California                ❑ 3. The Means Test does not apply now because
                                                                                                                   of qualified military service but it could apply later.
  Case number
  (if known)
                                                                                                                ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                 12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                           Column A              Column B
                                                                                                           Debtor 1              Debtor 2 or
                                                                                                                                 non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.
 5. Net income from operating a business, profession,
                                                                         Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                       -               -
                                                                                                    Copy
     Net monthly income from a business, profession, or farm                                        here
                                                                                                    →

 6. Net income from rental and other real property                       Debtor 1        Debtor 2
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                       -               -
                                                                                                    Copy
     Net monthly income from rental or other real property                                          here
                                                                                                    →

 7. Interest, dividends, and royalties

 Official Form 122A-1                                              Chapter 7 Statement of Your Current Monthly Income                                              page 1
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Debtor 1                   Jack                           F.                                Marshall, Jr  137                 Case number (if known)
                           First Name                     Middle Name                       Last Name
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                                         +                        =
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                        Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →
            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.
13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.

    Fill in the median family income for your state and size of household.................................................................................................... 13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

    14a. ❑ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
           Go to Part 3.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




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Debtor 1           Jack                  F.                      Marshall, Jr    137                 Case number (if known)
                   First Name            Middle Name              Last Name

Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Jack F. Marshall, Jr
       Signature of Debtor 1

       Date 04/14/2023
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                              page 3
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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                                            SAN DIEGO DIVISION

IN RE: Marshall Jr, Jack F.                                                            CASE NO

                                                                                       CHAPTER 7




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       04/14/2023            Signature                                /s/ Jack F. Marshall, Jr
                                                                         Jack F. Marshall, Jr, Debtor
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                              1st Choice Backflow Testing &
                              Svc
                              Po Box 584
                              Chino Hills, CA 91709-0020



                              Alpha Steel Corporation
                              30650 Rancho Road
                              Nuevo, CA 92567




                              Alpine Rock & Block
                              13288 Highway 8 Business
                              El Cajon, CA 92021-1871




                              A-Pot Rentals, Inc
                              9113 Olive Dr
                              Spring Valley, CA 91977-2304




                              Arco Business Solutions
                              Po Box 70887
                              Charlotte, NC 28272-0887




                              Esq Avi Faskowitz
                              6143 186th St # 207
                              Fresh Meadows, NY 11365-2710




                              Berlin-Wheeler, Inc
                              2942a Sw Wanamaker Dr Ste 200
                              Topeka, KS 66614-4479




                              Bernardo Ruiz
                              1658 E Washington Ave
                              Escondido, CA 92027-2019
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                              Bioventus LLC
                              Bioventus LLC Exogen Claims
                              PO Box Box 732923
                              Dallas, TX 75373



                              Blue Star Steel, Inc
                              12122 Industry Rd
                              Lakeside, CA 92040-1736




                              Brett Hunter & David Giles
                              3852 Brems St
                              San Diego, CA 92115-7010




                              Brian Danielson
                              6250 Broadmoor Dr
                              La Mesa, CA 91942-4001




                              Cabrillo Credit Union
                              10075 Carroll Canyon Rd
                              San Diego, CA 92131




                              California Pool Company
                              Po Box 232
                              Jamul, CA 91935-0232




                              California Pool Plumbing, Inc
                              9818 Vine St
                              Lakeside, CA 92040-3119




                              Capital One Auto Finance
                              Attn: Bankruptcy 7933 Preston Rd
                              Plano, TX 75024-2302
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                              Carl M. Lewis
                              Carl M. Lewis, Esq.
                              1916 Third Avenue
                              San Diego, CA 92101



                              Christa Sloan
                              308 Montego Bay
                              Oceanside, CA 92057-4209




                              Christopher & Lisa Perez
                              15517 Mission Preserve Pl
                              San Diego, CA 92131




                              City Electric Supply
                              Po Box 5267
                              Englewood, CO 80155-5267




                              City of National City
                              c/o HdL Support Center
                              8639 N Cedar Ave # 212
                              Fresno, CA 93720



                              Credence Resource
                              Management
                              PO Box Box 2420
                              Southgate, MI 48195-4420



                              Custom Pool Plastering
                              8045 Wing Ave
                              El Cajon, CA 92020-1245




                              Doire Electric
                              2616 Alpine Blvd
                              Alpine, CA 91901-2213
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                              Douglas Gadd
                              10812 Valle Vista Rd
                              Lakeside, CA 92040-1728




                              Douglas Knight & Associates,
                              Inc.
                              Sherry Gats
                              Subrogation Specialist
                              PO Box Box 10517
                              Bradenton, FL 34282


                              DW Yardscapes
                              850 S Grade Rd
                              Alpine, CA 91901-2914




                              Elio Gallardo
                              521 W Bobier Dr Apt 304
                              Vista, CA 92083-1810




                              Douglas P. Flaherty, Esq
                              402 W Broadway Ste 960
                              San Diego, CA 92101-8545




                              Franchise Tax Board
                              PO Box 2952
                              Personal Bankruptcy MS A340
                              Sacramento, CA 95812-2952



                              Franchise Tax Board
                              PO Box 419001
                              DMV Collections
                              Rancho Cordova, CA 95741-9001



                              Geico
                              Geico Commercial Dept
                              PO Box Box 822636
                              Philadelphia, PA 19182-2636
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                              Gemini
                              6020 West Oaks Blvd
                              Rocklin, CA 95765




                              Goodman Insurance Services
                              27042 Towne Centre Dr Ste 120
                              Foothill Rnch, CA 92610-2820




                              Horacio Camacho
                              9731 Ramo Rd
                              Santee, CA 92071-2650




                              InfuSystem
                              InfuSystem
                              PO Box Box 734350
                              Chicago, IL 60673-4350



                              Internal Revenue Service
                              PO Box 7346
                              Centralized Insolvency Opns
                              Philadelphia, PA 19101-7346



                              Internal Revenue Service
                              333 W Broadway
                              Insolvency Group 7 M/S 2277
                              San Diego, CA 92101-3805



                              International Pools &
                              Shotcrete
                              428 Smith Ave
                              Chula Vista, CA 91910-4324



                              IPFS Corporation of California
                              Po Box 412806
                              Kansas City, MO 64141
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                              James & Mary Hitchcock
                              c/o Matthew D. Rifat, Esq
                              Po Box 19879
                              San Diego, CA 92159-0879



                              Jared Roethlisberger
                              4608 Seda Cv
                              San Diego, CA 92124-2322




                              Jessica M. Martin
                              10426 Boulder Creed Rd
                              Descanso, CA 91916




                              Joshua Teague
                              4292 Gordon Way
                              La Mesa, CA 91942-5815




                              Katja Ahmari & Critelli Ortiz
                              c/o Sabrina L. Green, Esq
                              3703 Camino Del Rio S Ste 100b
                              San Diego, CA 92108-4032



                              Kimberly Baldridge and Bing
                              Guerin
                              1725 El Prado
                              Lemon Grove, CA 91945



                              Kohl's / Cap One
                              Attn: Credit Administrator
                              Po Box 3043
                              Milwaukee, WI 53201-3043



                              KRC Rock
                              700 N Twin Oaks Valley Rd
                              San Marcos, CA 92069-1714
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                              Kroeger Family Properties
                              Attn: Keith Kroeger
                              1679 E Main St Ste 202
                              El Cajon, CA 92021-5253



                              LeRiche Pool and Spa
                              Attn: Alex LeRiche
                              1106 2nd St # 364
                              Encinitas, CA 92024-5008



                              Libertas Funding, LLC
                              411 W Putnam Ave Ste 220
                              Greenwich, CT 06830-6295




                              M/M Buchardt
                              4084 Hatton St
                              San Diego, CA 92111-3444




                              M/M Denmark
                              2027 Del Rincon Pl
                              Escondido, CA 92026-4008




                              M/M Dominguez
                              1405 Perkins Dr
                              Chula Vista, CA 91911-6901




                              M/M Minutella
                              3263 Hawk St
                              San Diego, CA 92103-5338




                              M/M Murrin
                              14312 Sawgrass Cir
                              Valley Center, CA 92082-6643
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                              M/M Reid
                              10902 Anja Way
                              Lakeside, CA 92040-2717




                              M/M Rich
                              12139 Valhalla Dr
                              Lakeside, CA 92040-4930




                              M/M Rivera
                              1289 Blue Sage Way
                              Chula Vista, CA 91915-1614




                              M/M Romeo
                              335 Plaza Los Osos
                              Chula Vista, CA 91914-4417




                              M/M Szabo
                              14361 Silver Heights Rd
                              Poway, CA 92064-4971




                              M/M Fernandez
                              13975 Shalyn Dr
                              El Cajon, CA 92021-7913




                              M/M Garcia
                              781 Del Mar Ave
                              Chula Vista, CA 91910-5939




                              M/M Godinez
                              1314 Palm Ave
                              National City, CA 91950-4929
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                              M/M Hasherri
                              18684 Bernardo Trails Dr
                              San Diego, CA 92128-1127




                              M/M Miller
                              2651 Fieldbrook Way
                              Escondido, CA 92027-1888




                              M/M Mulvaney
                              5172 San Aquario Dr
                              San Diego, CA 92109-1510




                              Manuel Martinez
                              336 S A St Ste C
                              Oxnard, CA 93030-5854




                              Mario Freitas
                              25181 Poderio Dr
                              Ramona, CA 92065-4717




                              Mark Mahler
                              13409 Marjay Dr
                              Lakeside, CA 92040-5152




                              Mary G. Marshall
                              1285 E. Washington Ave. Spc 6
                              El Cajon, CA 92019-3044




                              Michael & Leanne Pusateris
                              623 Glenmont Dr
                              Solana Beach, CA 92075-1314
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                              Michaela Polanco
                              1006 Calle Escarpada
                              Bonita, CA 91902-2402




                              Miranda Covalesky and
                              Elizabeth Ihde
                              4824 67th Street
                              San Diego, CA 92115



                              Moby Capital, LLC
                              1700 So Lamar Blvd #331
                              Austin, TX 78704




                              Modern Builders Supply, Inc
                              825 Grand Ave
                              San Marcos, CA 92078-1224




                              Mountain Materials
                              1117 Tavern Rd
                              Alpine, CA 91901




                              National Pool Tile
                              1550 Linda Vista Dr
                              San Marcos, CA 92078-3808




                              Navigators Group, Inc,
                              c/o Jeffrey D. Horowitz, Esq
                              14156 Magnolia Blvd Ste 200
                              Sherman Oaks, CA 91423-1182



                              Numotion
                              Numotion
                              PO Box 88063 K
                              Milwaukee, WI 53288-0063
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                              Paychex
                              Po Box 911931
                              Dallas, TX 75391-1931




                              Phoenix Financial Services,
                              LLC
                              Attn: Bankruptcy
                              PO Box 361450
                              Indianapolis,, IN 46236


                              Phx Mgmt Sol
                              10000 N 31st Av
                              Phoenix, AZ 85051




                              PMS
                              Progressive Management Systems
                              1521 West Cameron Ave.
                              West Covina, CA 91790-2738



                              Poolsafe
                              c/o G B Collections, LLC
                              1253 Haddonfield Berlin Rd
                              Voorhees, NJ 08043-4847



                              Portfolio Recovery Associates,
                              LLC
                              Attn: Bankruptcy 120 Corporate
                              Boulevard
                              Norfolk, VA 23502


                              Prime One Concrete Pumping,
                              Inc
                              Po Box 891933
                              Temecula, CA 92589-1933



                              Progressive Management
                              Systems
                              Attn: Bankruptcy Department
                              1521 W Cameron Ave. , First Floor
                              West Covina, CA 91790
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                              Progressive Mgmt Systems
                              Progressive Management Systems
                              1521 W Cameron Ave Fl 1
                              West Covina, CA 91790-0000



                              R and R Backflow Service and
                              Testing
                              PO Box Box 584
                              Chino Hills, CA 91709



                              Rauch Milliken International
                              Attn: Marvin Brown
                              4400 Trenton St
                              Metairie, LA 70006-6550



                              Ruben & Mayra Suarez
                              949 Camino Cantera
                              Chula Vista, CA 91913-3330




                              San Diego City Treasurer
                              PO Box 129039
                              San Diego, CA 92112-9039




                              San Juanico & Javier Navarro
                              698 Vista San Javier
                              San Diego, CA 92154




                              Sandy S. Isaac
                              3024 S Bonita St
                              Spring Valley, CA 91977-3013




                              Sawyer Fabrication
                              7271 Barker Way
                              San Diego, CA 92119-1319
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                              Jeffrey D. Schreiber, Esq
                              4275 Executive Sq Ste 200
                              La Jolla, CA 92037-1476




                              SD Beavers
                              13916 Illerongis Rd
                              Jamul, CA 91935-3151




                              Sharp Grossmont Hospital
                              Sharp Grossmont Hospital
                              File # 748424
                              Los Angeles, CA 90074-8424



                              Sharp Home Infusion Services
                              Sharp Home Infusion Services
                              PO Box Box 2307
                              La Mesa, CA 91943-2307



                              Sharp Memorial Hosp
                              Sharp
                              8695 Spectrum Center Blvd
                              San Diego, CA 92123-0000



                              Sharp Memorial Hospital
                              Sharp Memorial Hospital
                              File # 748424
                              Los Angeles, CA 90074-8424



                              Sharp Rees-Stealy Med Grp
                              Sharp Rees-Stealy Medical Group
                              PO Box 939088
                              San Diego, CA 92193-0000



                              Sharp-Rees-Stealy Medical
                              Group
                              Sharp-Rees-Stealy Medical Group
                              Po Box 939088
                              San Diego, CA 92193-9088
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                              Sleep Data
                              Sleep Date
                              5471 Kearny Villa Rd. 200
                              San Diego, CA 92123-1105



                              State Comp Ins Fund
                              5880 Owens Dr
                              Pleasanton, CA 94588




                              Stephanie E. Vaughn
                              9934 Halberns Blvd
                              Santee, CA 92071-1438




                              SuperCare Health
                              SuperCare Health
                              PO Box Box 844163
                              Los Angeles, CA 90084-4463



                              Superior Creations, Inc.
                              c/o Jack R. Lieb, Esq
                              4950 Waring Rd Ste 11
                              San Diego, CA 92120-2736



                              Sycamore Landfill
                              8514 Mast Blvd
                              Santee, CA 92071-2300




                              Szabo Media Collections
                              3355 Lenox Road 945
                              Atlanta, GA 30326-1332




                              The Civil Attorneys Group
                              S. David Kozich
                              17821 17th Street 100
                              Tustin, CA 92780
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                              The Contractors State License
                              Board
                              PO Box Box 26000
                              Sacramento, CA 95826



                              The Faskowitz Law Firm, PLLC
                              Avi Faskowitz, Esq.
                              61-43 186 Street 207
                              Fresh Meadows, NY 11365



                              The North River Insurance
                              Company
                              Kenda Wannemaker, Esq.
                              305 Madison Ave.
                              Morristown, NJ 07960


                              Timothy J. Tomlin, Esq
                              68 Mitchell Blvd Ste 135
                              San Rafael, CA 94903-2046




                              Transworld Systems Inc
                              500 Virginia Dr 514
                              Fort Washington, PA 19034




                              C. William Turnbow, Esq
                              750 B. Street # 2620
                              San Diego, CA 92101




                              UC San Diego Health
                              Regents of the University of California
                              PO Box Box 748607
                              Los Angeles, CA 90074-8607



                              Whitney Oaks Insurance
                              Services, Inc.
                              1221 Pleasant Grove Blvd.
                              Roseville, CA 95678
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                                      137

                              William Cox
                              3931 Monserate Terr
                              Fallbrook, CA 92028-9495
